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                                EXHIBIT 2
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Motions, Pleadings and Filings                                        FN2. Thousands of pages of documents
                                                                      have been filed by the parties in connection
Only the Westlaw citation is currently available.                     with the motions in this case. The Court has
                                                                      been vexed to discover that it could not
                                                                      always rely on counsel's statements with
         United States District Court,                                respect to the record. This has added
               D. Minnesota.                                          substantially--and unnecessarily--to the time
      Gwen D. CARLSON, et al., Plaintiffs,                            required to decide the motions. See
                      v.                                              Northwestern Nat'l Ins. Co. v. Baltes, 15
C.H. ROBINSON WORLDWIDE, INC., Defendant.                             F.3d 660, 662-63 (7th Cir.1994) (observing
         No. Civ.02-3780 JNE/JGL.                                     that judges are not archaeologists sifting
                                                                      through masses of papers in search of
                  March 31, 2005.                                     revealing tidbits; that burden is on the
 Steven Sprenger, Susan Coler, Micheal Lieder, and                    parties, and judges have limited resources).
Eden Brown Gaines, Sprenger & Lang PLLC, for
Plaintiffs Gwen D. Carlson, Carol Flannigan, Amy                                  I. BACKGROUND
Hossenlopp, Debra Kinniry, Sandy Nelson, Cathy                CHR is a transportation logistics company with at
Perky, Tricia Porter, Andrea Prout, LeeAnn Puckett,          least 134 branch offices in over 42 states. [FN3] CHR
Angela Roberts, Jennifer Smyrl, and Jessica Vetter           began operations in 1905 and was employee-owned
individually and on behalf of all others similarly           until its IPO on October 15, 1997. Between 1997 and
situated.                                                    2002, CHR expanded from roughly 1900 employees
                                                             to 3800 employees. The company's growth was due
 Janet C. Evans, Thomas Hatch, Thomas Undlin, and            in large part to acquisitions of other companies.
Lisa Heller, Robins, Kaplan, Miller & Ciresi, LLP,           CHR's business is divided into six "lines": Produce
for Defendant C.H. Robinson Worldwide, Inc.                  (buying, selling and transporting produce--includes
                                                             Corporate Procurement Distribution Services (CPDS)
                        ORDER                                which specializes in large national customers'
                                                             inventory and logistics of their businesses);
ERICKSEN, J.                                                 Transportation (general trucking services); Ross
                                                             (transportation and management of time-sensitive
 *1 This is a putative class action involving sex-           printed materials); Intermodal (transportation by rail);
discrimination claims under Title VII of the Civil           International Sales (transportation by ocean freight,
Rights Act of 1964, 42 U.S.C. § § 2000e to 2000e-17          air freight, rail freight, trucking and rail); and T-Chek
(2000) (Title VII). [FN1] The case is before the Court       (a wholly owned subsidiary that operates credit
on Plaintiffs' motion for class certification, Plaintiffs'   services for drivers).
motion for partial summary judgment as to liability
on their class sexual harassment claims, C.H.                         FN3. Since the onset of this litigation, CHR
Robinson Worldwide Inc.'s (CHR) motions for partial                   has expanded from 100 to at least 134
summary judgment on Plaintiffs' hostile work                          branches.
environment claims, and CHR's motion in limine to
exclude part of the expert report of Victoria Fuhrer.         Centralized management at CHR is located in Eden
The parties presented oral argument on October 15,           Prairie, Minnesota. Each business line has an
2004, and November 12, 2004. The Court grants and            operational vice president who oversees performance
denies the motions for the reasons set forth below.          of that line at all of the branches. All the operational
[FN2]                                                        vice presidents are men, as are CHR's board of
                                                             directors. The corporate offices contain the human-
         FN1. Plaintiffs' claims under the Federal           resource department (HR), the payroll department,
         Labor Standards Act, 29 U.S.C. § § 201-             and the in-house legal department. HR centrally
         219 (2000) (FLSA), are being pursued in a           administers the compensation system and enforces
         concurrent litigation.                              EEO polices and procedures, and provides human


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resource services to the entire branch network.             employees have four facets to their pay package: base
Before August 2002, HR was called Organizational            salary; contractual bonus; growth pool bonus; and
Resources and provided additional support to the            stock option grants. [FN4] Generally, full-time
operational vice presidents.                                hourly employees receive an hourly rate that falls
                                                            within a range set by CHR, and they are eligible to
Policies against discrimination                             receive a year-end bonus, usually equivalent to no
                                                            more than two-weeks' pay. The annual compensation
 CHR prohibits discrimination on the basis of gender.       review process begins with a meeting between the
All employees are required to sign a copy of CHR's          branch manager and the employee to review and
anti-discrimination policy at the start of their            amend each employee's compensation package and
employment. CHR provides training to new                    contract. This typically includes reviewing the
employees, including a seminar on sexual harassment         employee's past performance and discussing the
in the workplace. CHR also maintains a policy               employee's future goals. [FN5]
against employee misuse of the Internet. Employees
annually sign compliance certificates, stating that                 FN4. Although no longer available, at times
they have complied with all CHR policies during the                 during the liability period at issue CHR had
preceding year.                                                     a company-car program for sales employees.
                                                                    Sales employees were eligible for the
 If an employee experiences an incident of                          program after 18 months of employment.
discrimination or inappropriate behavior, CHR                       The cash value to recipients was
recommends reporting the incident in one of several                 approximately $5700 per year and as the
ways: (1) to the employee's branch manager; (2) to                  program was phased out, the recipients
CHR's in-house legal department; (3) to an                          received cash instead.
anonymous third-party toll-free hotline; or (4) to
CHR's     anonymous     email    service.    These                  FN5. Employees are encouraged, but not
recommendations are located on CHR's website.                       required, to make annual marketing plans
                                                                    that use SMART goals. (SMART stands for
CHR workplace                                                       "Specific, Measurable, Action Oriented,
                                                                    Result Oriented, and Time Based.")
 *2 The majority of CHR employees occupy sales                      Performance reports showing the loads
positions. Sales employees' primary job duties are to               booked and margins achieved for branches
book loads, to ensure the timely and safe arrival of                and individual employees are posted on-line
the load, and to negotiate rates that provide a margin              so that employees may track their progress
of profit to CHR. All employees use computers to                    in achieving their goals.
facilitate these transactions, especially with regard to
tracking loads. The software used by CHR to                  With regard to a salaried employee's base salary,
facilitate these logistics requires access to the           CHR provides a formula to calculate a range of base
Internet. Employees are constantly on the phone,            salaries, based in part on factors such as experience
engaging in rapid-fire deal making. As a result,            and cost of living differences. Within the base salary
branches often have a loud, frenetic atmosphere.            range, the branch manager negotiates a base salary
                                                            with each employee. Next, the contractual bonus is a
 Employees at CHR work in areas organized in "pod"          spreadsheet of percentage points that each employee
formations with several employees' desks and                makes per $100,000 profit generated within the
computers clustered together and in close proximity         branch. This bonus sheet is negotiated into the
to other pods. Short partial walls separate employees'      employee's annual contract. Third, the growth pool
desks. The short walls provide minimal privacy and          bonus program is additional compensation that is
co-workers' computers are essentially visible to each       awarded to branches that achieve success and growth
other. In general, employees' phone conversations           over certain threshold minimums. The branch
and conversations amongst co-workers are readily            manager has total discretion on how to distribute the
overheard.                                                  pool to his employees. Finally, a salaried employee
                                                            may receive stock options. The stock option program
Compensation                                                began in 1997, and approximately 15% of all
                                                            employees receive stock options. Although stock
 CHR employees have individualized compensation             options may be considered part of an employee's
packages that are reviewed annually. Salaried               overall compensation, decisions regarding stock

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options are made separately from the rest of the           uses an informal system, a "succession planning
compensation package.                                      chart," to record his recommendations regarding the
                                                           upward mobility of his employees.
 After developing the compensation packages for
each of his employees, the branch manager submits           Before this lawsuit, CHR did not regularly post--
the branch's entire compensation package to the CHR        either internally or externally--openings for branch
compensation managers for review. At that point, the       manager positions. Other positions, such as sales,
CHR compensation manager and the branch manger             were routinely posted on CHR's website. Branch
discuss and review each employee's compensation            manager positions were generally filled through the
package. In a meeting that may last several hours          recommendations of either the line vice president or
depending on how many employees are in the branch,         the out-going branch manager.
the branch manager explains the choices and
decisions he has made with regard to compensation.         Plaintiffs
At least five minutes is spent discussing each
employee. [FN6] The parties dispute who has final           Gwen Carlson was hired on September 1, 1996, by
say regarding an employee's compensation. Plaintiffs       CHR's Minneapolis International branch to work in
allege that the compensation manager's suggestion          operations. In November 1998, Carlson moved into a
controls, and CHR contends that it is the branch           sales position that did not suit her well. In February
manager with whom the final decision rests.                2001, after interviewing for several other positions,
                                                           Carlson accepted a newly developed position known
        FN6. Allocation of stock options operates          as the Domestic Drayage Coordinator. Carlson is still
        under a similar procedure to the                   employed by CHR in that position. During her entire
        compensation review, with three exceptions.        period of employment by CHR, Carlson has been a
        First, the process takes place months after        full-time, salaried employee. Carlson filed a claim
        the compensation review. Second, input             with the EEOC on June 20, 2001. The remaining
        from the operational vice presidents is            named Plaintiffs have all been employed or continue
        considered and they have authority to add          to be employed by CHR in branch offices across the
        names. Third, stock option grants require          United States.
        approval by the board of directors before
        distribution.                                                     II. MOTION TO STRIKE
                                                            Before turning to Plaintiffs' motion for class
 *3 Through 1998, the sole CHR compensation                certification, the Court first addresses CHR's motion
manager was Greg Goven. In anticipation of his 2002        to strike the expert report and testimony of Victoria
retirement, Goven asked others to assist him in the        Fuehrer insofar as she opines on issues relating to
compensation review process. From 1998 to 2002,            hostile work environment and sexual harassment.
Greg Goven, Mary Gorski, Colleen Zwach, Scott              Plaintiffs retained Ms. Fuehrer as an expert in human
Satterlee, and Tim Manning acted as compensation           resources. She has been involved in the human
managers and conducted compensation reviews.               resources field for approximately thirty years. She
                                                           received two B.A. degrees, one in psychology and
Promotions                                                 one in sociology. She worked in the human resources
                                                           department at Amhoist from 1975 to 1983, and was
 With regard to promotions, CHR generally favors           thereafter employed by Norwest Corporation as Vice
internal candidates as opposed to external candidates.     President of Compensation from 1983 to 1984. From
Lower-tier promotions, such as team or pod leaders,        1984 to 2000, Ms. Fuehrer ran a consulting firm that
are done by the branch manager from within the             specialized in human resources and "organizational
branch. Some support and operations employees              effectiveness." She has published approximately
consider a transfer to a sales position to be a            fourteen articles in the human resources field
promotion. In the process of selecting sales               generally (none relating to sexual harassment). The
employees, CHR administers a personality test, the         section of Ms. Fuehrer's report at issue here focuses
Stein test, which is intended to distinguish those         on whether CHR's human resource policies and
applicants who possess management skills. It is            procedures with respect to sexual harassment
unclear whether the results of the Stein test are used     comport with accepted business practices.
in any other way. An employee interested in a
management position or promotion is expected to             *4 CHR moves to strike Ms. Fuehrer's report and
notify his or her branch manager. A branch manager         testimony because she lacks the appropriate

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experience to be considered an expert in the field of       134. That court further stated that a "district court
sexual harassment in the workplace. In particular,          must ensure that the basis of the expert opinion is not
CHR argues that Ms. Fuehrer has no formal                   so flawed that it would be inadmissible as a matter
education or training with respect to sexual                law." Id. at 135.
harassment, nor has she conducted any training or
written any articles on the topic of sexual harassment.      The Court concludes that even under the In re Visa
Further, CHR contends that Ms. Fuehrer's practical          Check/MasterMoney standard, Ms. Fuehrer does not
experience has been limited to writing several              qualify as an expert on matters relating to sexual
policies    regarding     sexual     harassment    and      harassment. Here, Ms. Fuehrer's resume fails to
participating in one internal investigation while           identify any experience, skill, training, or education
working as a consultant. According to CHR, this             in sexual harassment in the workplace. The Court's
experience does not qualify Ms. Fuehrer to opine on         review of her deposition testimony reveals that she
issues of sexual harassment in the workplace.               consulted on one internal investigation of a sexual
                                                            harassment charge at a client's company and she
 The admissibility of expert testimony is governed by       wrote eight to ten policies that address sexual
Federal Rule of Evidence 702, which states that "if         harassment as part of writing employee manuals, but
scientific, technical, or other specialized knowledge       that the bulk of her experience with sexual
will assist the trier of fact to understand the evidence    harassment occurred during her time at Amhoist. Ms.
or to determine a fact issue, a witness qualified as an     Fuehrer testified in relevant part as follows:
expert by knowledge, skill, experience, training, or          *5 Q. Have you ever been in charge or involved in
education, may testify thereto in the form of an              an EEOC investigation?
opinion or otherwise." When evaluating the                    A. I don't recollect that I have.
admissibility of expert testimony under Rule 702, a           Q. Okay, Have you ever been involved in any
district court must determine whether the testimony is        internal investigations where--in a company where
reliable and relevant. Kumho Tire Co. v. Carmichael,          there were allegations of sexual harassment?
526 U.S. 137, 147, 149, 119 S.Ct. 1167, 143 L.Ed.2d           ....
238 (1999); see Daubert v. Merrell Dow Pharms.,               A. Okay, I have had experience in consulting with
Inc., 509 U.S. 579, 589, 597, 113 S.Ct. 2786, 125             one of my clients in a sexual harassment, an
L.Ed.2d 469 (1993). Moreover, "it is the                      internal investigation on sexual harassment and
responsibility of the trial judge to determine whether        advising that company on steps.
a particular expert has sufficient specialized                ....
knowledge to assist jurors in deciding the specific           Q. Okay. So that's the only sexual harassment that
issues in the case." Wheeling Pittsburgh Steel Corp.          you've been involved in?
v. Beelman River Terminals, Inc., 254 F.3d 706, 715           A. To my recollection, yes.
(8th Cir.2001) (citing Kumho Tire, 526 U.S. at 156).          ....
The proponent of the expert testimony bears the               Q. Now you said you wrote sexual harassment
burden of proving its admissibility by a                      policies.
preponderance of the evidence. Daubert, 509 U.S. at           A. Uh-huh.
592 n. 10; Lauzon v. Senco Prods. ., Inc., 270 F.3d           Q. When?
681, 686 (8th Cir.2001).                                      A. I've written sexual harassment policies off and
                                                              on for a variety of my clients.
 Plaintiffs argue that at the class-certification stage,      Q. Okay.
Daubert and Rule 702 do not apply because an                  A. But I would say the majority of that work was
analysis under them entails an impermissible inquiry          performed when I was at Amhoist.
into the merits of the underlying action. Rather,             ....
Plaintiffs contend that a district court must only make       Q. Okay. Any training, sexual harassment training
certain that the expert testimony is not "so fatally          that you've developed or given?
flawed as to be inadmissible as a matter of law." Pls.'       A. I have not--I don't recall that I have developed
Mem. Opp'n. at 9. In support, Plaintiffs rely on In re        any sexual harassment training.
Visa Check/MasterMoney Antitrust Litigation, 280              Q. Ever written an article about sexual harassment?
F.3d 124 (2d Cir.2001), wherein the Second Circuit            A. I don't think so, no.
Court of Appeals noted that "a motion to strike expert        ....
evidence pursuant to [Daubert ] involves an inquiry           Q. Okay. So your experience kind of in the area of
distinct from that for evaluating expert evidence in          sexual     harassment       policy    implementation,
support a motion for class certification." 280 F.3d at        administration and enforcement would be limited

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  to the policies that you have written and the one-       governs a district court's consideration of a motion
  time consulting?                                         for class certification. Decisions on whether to certify
  A. I don't--I'm not sure that the word limited is a      a class action are within the discretion of the district
  good word. I mean I've had experience writing            court. See Coleman v. Watt, 40 F.3d 255, 259 (8th
  sexual harassment policies and administering them.       Cir.1994); Morgan v. United Parcel Serv., 169
  And the focus--the focus of my consulting has been       F.R.D. 349, 354 (E.D.Mo.1996). In determining
  in a more--in the compensation career progression,       whether to certify a class action, "the question is not
  performance management.                                  whether the plaintiff or plaintiffs have stated a cause
  Q. Where have you had experience administering           of action or will prevail on the merits, but rather
  sexual harassment policies?                              whether the requirements of Rule 23 are met." Eisen
  A. At Amhoist.                                           v. Carlisle & Jacquelin, 417 U.S. 156, 178, 94 S.Ct.
  Q. Okay. Anywhere else?                                  2140, 40 L.Ed.2d 732 (1974) (citations omitted).
  A. I would say not.                                      Accordingly, while the Court must conduct a
  ....                                                     "rigorous analysis," see Gen. Tel. Co. of the
  Q. Okay. While you were at Amhoist, was--do you          Southwest v. Falcon, 457 U.S. 147, 161, 102 S.Ct.
  recall any allegation of sexual harassment that you      2364, 72 L.Ed.2d 740 (1982), class certification is a
  were involved with in either advising,                   procedural determination and should not include an
  investigating, anything?                                 inquiry into the merits. See Eisen, 417 U.S. at 177-
  A. Uh-huh, uh-huh. I don't recall any.                   178. The plaintiff bears the burden of satisfying the
 (Fuehrer Tr. at 134-139.)                                 requirements of Rule 23. Coleman, 40 F.3d at 259.

 The Court notes that Ms. Fuehrer's time spent at           Rule 23 requires a plaintiff to demonstrate that: (1)
Amhoist, from 1975 to 1983, predates all relevent          the class is so numerous that joinder of all the
decisions by the United States Supreme Court with          members is impracticable; (2) questions of law or
respect to sexual harassment, as well as subsequent        fact are common to the class; (3) the claims or
statutory amendments to Title VII. See, e.g., Meritor      defenses of the representative parties are typical of
Savings Bank v. Vinson, 477 U.S. 57, 106 S.Ct. 2399,       the class; and (4) the representative parties fairly and
91 L.Ed.2d 49 (1986); Harris v. Forklift Sys., Inc.,       adequately protect the interests of the class.
510 U.S. 17, 114 S.Ct. 367, 126 L.Ed.2d 295 (1993);        Fed.R.Civ.P. 23(a). In addition to the Rule 23(a)
Oncale v. Sundowner Offshore Servs., Inc., 523 U.S.        factors, a plaintiff must also demonstrate at least one
75, 118 S.Ct. 998, 140 L.Ed.2d 201 (1998); Faragher        of the following subsections of Rule 23(b): (1) that
v. City of Boca Raton, 524 U.S. 775, 118 S.Ct. 2275,       there is a risk of inconsistent verdicts if the class is
141 L.Ed.2d 662 (1998). Plaintiffs essentially ask the     not certified; (2) that injunctive or declaratory relief
Court to accept Ms. Fuehrer as an expert in sexual         is appropriate; or (3) that a common question of law
harassment even though her resume and testimony            or fact predominates any questions affecting only
clearly demonstrate that her expertise lies elsewhere.     individual members and that a class action would be
                                                           superior to other available methods. Fed.R.Civ.P.
 Although it is not compulsory for a purported expert      23(b).
to have "knowledge, skill, experience, training, and
education" in a particular field to be qualified as an      Plaintiffs move the Court to certify one across-the-
expert, possession of at least one of these                board class consisting of "all females who were
characteristics is necessary. Cf. Midwestern Mach. v.      employed by C.H. Robinson any time during the
Northwest Airlines, Inc., 211 F.R.D. 562, 568              liability period or who will be employed in the
(D.Minn.2001). Plaintiffs fail to establish that Ms.       future," and three subclasses-- compensation,
Fuehrer possesses any one of these characteristics         promotion and sexual harassment. With regard to
with respect to sexual harassment in the workplace.        their compensation and promotion claims, Plaintiffs
Accordingly, Ms. Fuehrer is without a reliable basis       allege gender discrimination claims of disparate
for forming opinions with respect to sexual                treatment and disparate impact. [FN7] With regard to
harassment in the workplace, and the Court therefore       hostile work environment, Plaintiffs allege only a
grants CHR's motion to strike.                             disparate treatment claim. [FN8]

          III. CLASS CERTIFICATION                                  FN7. To establish liability based on a pattern
A. Class Certification Standard                                     or practice of disparate treatment, Plaintiffs
                                                                    must ultimately demonstrate that intentional
*6 Rule 23 of the Federal Rules of Civil Procedure                  discrimination was CHR's "standard

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        operating procedure the regular rather than                 therefore, while plaintiffs' ultimate burden
        the unusual practice." Int'l Bhd. of                        remains the same, plaintiffs generally must
        Teamsters v. United States, 431 U.S. 324,                   rely on anecdotal evidence and non-
        336, 97 S.Ct. 1843, 52 L.Ed.2d 396 (1977).                  statistical experts.
        Disparate treatment occurs where "[t]he
        employer simply treats some people less             Turning first to Plaintiffs' motion to certify an
        favorably than others because of their race,       across-the-board class, the Court concludes that
        color religion, sex or national origin. Proof      Plaintiffs have failed to satisfy their burden to
        of discriminatory motive is critical, although     demonstrate that this class warrants certification. See
        it can in some situations be inferred from the     8 Alba Conte & Herbert Newberg, Newberg on Class
        mere fact of differences in treatment." Id. at     Actions § 3:9 (4th ed.2002) (noting that plaintiffs
        335 n. 15. Statistical evidence is one of the      carry the burden of establishing the elements of Rule
        most common methods of proof for a                 23 with respect to both across-the-board class and
        disparate treatment claim. Craik v. Minn.          subclasses). Here, Plaintiffs fail to direct the Court to
        State Univ. Bd., 731 F.2d 465, 470 (8th            evidence in the record in support of their across-the-
        Cir.1984). However, statistics alone are not       board class and fail to distinguish it from the
        dispositive. Catlett v. Miss. Highway &            subclasses. Indeed, during oral argument and in their
        Transp. Comm'n, 828 F.2d 1260, 1265 (8th           memoranda, Plaintiffs rarely mention the across-the-
        Cir.1987).                                         board class. Furthermore, Plaintiffs fail to
        Plaintiffs' claims of disparate impact             demonstrate how the across-the-board class
        "involve employment practices that are             independently satisfies the Rule 23 factors. Without
        facially neutral in their treatment of different   more, Plaintiffs have not met their burden.
        groups but that in fact fall more harshly on       Accordingly, the Court will not certify the across-the-
        one group than another and cannot be               board class.
        justified by business necessity." Teamsters,
        431 U.S. at 335 n. 15. "Under a disparate-          *7 This conclusion does not, however, preclude
        impact theory of discrimination, 'a facially       certification of Plaintiffs' subclasses as individual
        neutral employment practice may be deemed          classes. See In re Monumental Life, 365 F.3d 408,
        illegally discriminatory without evidence of       414 (5th Cir.2004) (noting that district courts have
        the employer's subjective intent to                discretion to modify class definitions to provide
        discriminate that is required in a disparate-      needed precision); Robidoux v. Celani, 987 F.2d 931,
        treatment case." ' Raytheon Co. v.                 937 (2d Cir.1993) ("A court is not bound by the class
        Hernandez, 540 U.S. 44, 53, 124 S.Ct. 513,         definition proposed in the complaint and should not
        157 L.Ed.2d 357 (2003) (quoting Wards              dismiss the action simply because the complaint
        Cove Packing Co. v. Atonio, 490 U.S. 642,          seeks to define the class too broadly."). Instead, the
        645-46, 109 S.Ct. 2115, 104 L.Ed.2d 733            Court construes Plaintiffs' motion for class
        (1989), superceded on other grounds, Civil         certification as a motion to certify three separate
        Rights Act of 1991 § 105, 42 U.S.C. §              classes--compensation, promotion and sexual
        2000e-2(k) (2000)); see also Teamsters, 431        harassment--and further construes Plaintiffs' request
        U.S. at 335 n. 15 (noting that proof of            for injunctive relief to apply to each of the three
        discriminatory motive is not required under        classes. Plaintiffs' proposed class definitions are as
        a disparate impact theory).                        follows: (1) Compensation--"All females who have
                                                           been employed on a full-time basis by C.H. Robinson
        FN8. Class actions alleging a hostile              in a domestic branch office at any time during the
        environment are of a relatively recent             liability period;" (2) Promotions--"All females who
        vintage. See Jenson v. Eveleth Taconite Co.,       were employed by C.H. Robinson in a domestic
        824 F.Supp. 847, 875 (D.Minn.1993)                 branch office and had more than two years'
        (noting that it was the first class action         experience in a sales and/or operations position at
        alleging hostile environment based on              any time during the liability period;" and (3) Sexual
        sexual harassment to make it to a liability        Harassment--"All females who have been employed
        determination). A notable difference               by C.H. Robinson in a domestic branch office at any
        between hostile environment and other              time during the liability period." The Court now turns
        disparate treatment claims is that hostile         to the Rule 23 factors as applied to each class.
        environments and sexual harassment are not
        susceptible to statistical analyses and            B. Rule 23(a) factors

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                                                             to meet. See Egge v. Healthspan Servs. Co., 208
1. Numerosity                                                F.R.D. 265, 268 (D.Minn.2002) (commonality "is
                                                             easily met in most cases because it 'requires only that
 The first requirement of Rule 23(a) is that the class       the course of conduct giving rise to a cause of action
must be "so numerous that joinder of all members is          affects all class members, and that at least one of the
impracticable." Fed.R.Civ.P. 23(a)(1). "Impracticable        elements of that cause of action is shared by all
does not mean that joinder must be impossible, but it        members" ' (quoting Lockwood Motors, Inc. v. Gen.
does require a showing that it would be extremely            Motors Corp., 162 F.R.D. 569, 575 (D.Minn.1995)).
difficult or inconvenient to join all members of the         The Court now turns to the Plaintiffs' proffered
class ." Morgan, 169 F.R.D. at 355. Factors relevant         evidence to consider whether each class satisfies the
to this inquiry include: the number of persons in the        commonality requirement.
proposed class; the size of the individual claims; the
inconvenience of trying individual suits; and any            a. Compensation Class
other factor relevant to the practicability of joining all
of the putative class members. Paxton v. Union Nat'l          Plaintiffs contend that commonality is met because
Bank, 688 F.2d 552, 559-60 (8th Cir.1982).                   the issues of whether CHR discriminated against
                                                             women in compensation and whether CHR's
 Here, the parties do not dispute numerosity.                compensation process had a disparate impact on
Plaintiffs have put forth evidence that each class           women pervades all of the class members' claims.
would contain between 625 and 1300 women who                 According to Plaintiffs, CHR has a centralized, all
reside in over 40 different states. In particular,           male group of vice presidents who dictate
Plaintiffs assert that the compensation and sexual           compensation       based    on     the      subjective
harassment classes each could encompass 1300                 recommendations of the branch managers. Plaintiffs
women while the promotion class could contain as             allege that the branch manager's unfettered discretion
many as 625 women. Given the large number of                 to compute salary, bonuses, and other compensation
putative class members combined with their                   perks, coupled with the absence of objective factors
geographic dispersion, the Court concludes that              such as mandatory performance reviews, led to
joinder would be impracticable. See Morgan, 169              women being paid less than men.
F.R.D. at 355. Accordingly, the Court finds that
Plaintiffs have met their burden with respect to this         In support of their argument, Plaintiffs put forth the
prong of Rule 23(a).                                         expert report of Dr. Janet Thornton who conducted a
                                                             multiple regression analysis and determined that,
2. Commonality                                               when aggregating all of CHR's employees across the
                                                             branches, there were statistically significant
 The next requirement of Rule 23(a) is that "there are       disparities in the pay between men and women.
questions of law or fact common to the class."               [FN9] Specifically, Dr. Thornton concluded that
Fed.R.Civ.P. 23(a)(2). The commonality requirement           women received fewer contract points and stock
of Rule 23(a) "does not require that every question of       options and received less overall compensation than
law or fact be common to every member of the                 male workers at CHR. She arrived at this conclusion
class." Paxton, 688 F.2d at 561. The Supreme Court           by aggregating the data of employees across all of the
in Falcon noted:                                             branches. Later, Dr. Thornton confirmed her
   *8 Class relief is peculiarly appropriate when the        conclusion by sampling 39 branch years from
   issues involved are common to the class as a whole        branches employing more than 20 employees and at
   and when they turn on questions of law applicable         least 1 female employee. She revealed her results in
   in the same manner to each member of the class.           her rebuttal report, noting that 33 out of the 39 branch
   For in such cases, the class-action device saves the      years had female negative disparities and that the
   resources of both the courts and the parties by           remaining 6 branch years had female positive
   permitting an issue potentially affecting every class     disparities. Importantly, Dr. Thornton found that 10
   member to be litigated in an economical fashion           of the 33 female negative disparities were statistically
   under Rule 23.                                            significant (greater than 2 standard deviations), while
  457 U.S. at 155 (quotations omitted). In assessing         none of the 6 positive disparities were statistically
commonality, there is not one determinative factor           significant.
for courts to consider. See Morgan, 169 F.R.D. at 355
(listing non-exclusive factors). In general, the                      FN9. The Eighth Circuit described multiple
commonality requirement is not an oppressive burden                   regression analysis as follows:

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        Statistical significance is a measure of the      exclusively by branch management at over 300
        probability that an observed disparity is not     branches); Webb v. Westinghouse Elec. Corp., 78
        due to chance. A finding that that a disparity    F.R.D. 645, 641 (E.D.Pa.1978) ("The complete
        is statistically significant at the .05 or .01    autonomy of each plant with respect to personnel
        level means that there is a 5 per cent or 1       decision making prevents [plaintiffs] from satisfying
        percent probability, respectively that the        the commonality and typicality requirements.").
        disparity is due to chance. Baldus & Cole,
        Statistical Proof of Discrimination § 9.02,        Based on a review of the record and relevant case
        at 290 (1980). Normally, courts and social        law, the Court concludes that Plaintiffs have met their
        scientists, when confronted with such low         burden with respect to commonality in the
        probabilities, conclude that something other      compensation class for salaried employees. First,
        than chance is causing the disparity. The         unlike Seidel and Webb, CHR's compensation review
        courts must decide whether that something         process does include some management oversight. In
        is illegal discrimination or some other,          particular, there is evidence in the record that CHR's
        nondiscriminatory influence. The Supreme          line vice presidents and board of directors, who are
        Court recognized a variation of this principle    all men, have significant influence in some aspects of
        when it noted that "[a]s a general rule ..., if   the compensation review process. Cf. Craik, 731 F.2d
        the difference between the expected value         at 474 (noting that a hiring process that "is subjective
        and the observed number is greater than two       and dominated by men requires particularly close
        or three standard deviations," the disparity is   scrutiny"). Moreover, all class members are subjected
        not due to chance. Castaneda v. Partida,          to the same practices that form the basis of their
        430 U.S. 482, 496- 97, 97 S.Ct. 1272, 51          discrimination claims. Plaintiffs uniformly allege that
        L.Ed.2d 498 (1977). For large samples, this       the subjectivity given to the branch manager to
        test "is essentially equivalent to a rule         determine each facet of a relatively complex
        requiring significance at a level in the range    compensation scheme, led to salaried women being
        below 0.05 or 0.01." Baldus & Cole, supra,        paid less then their male counter-parts and that these
        § 9.03, at 297.                                   allegations are applicable to all salaried employees.
        Craik, 731 F.2d at 475 n. 13.                     Here, any individual factual disparities in individual
                                                          compensation determinations do not justify denying
 *9 In response, CHR argues that the claims of the        class certification. See Paxton, 688 F.2d at 561
putative class members are too individualized to          (noting that "factual variations are not sufficient to
support a finding of commonality because the branch       deny class treatment to the claims that have a
managers employed factors unique to each employee         common thread of discrimination"). Finally,
when determining each employee's compensation.            notwithstanding the parties' dispute regarding the
CHR contends that compensation is determined on           relevant labor market, Dr. Thornton's rebuttal
the basis of objective and subjective factors,            analysis of 39 branch years produced statistically
primarily performance and branch contribution, and        significant disparities between the salaries of male
that a gender-diverse group conducts the                  and female employees. At this stage, Plaintiffs'
compensation reviews. Moreover, CHR's statistical         statistical evidence is enough to give rise to an
expert, Dr. Elizabeth Becker, argues that Dr.             inference of discrimination with regard to disparities
Thornton's regression analysis is systemically flawed     in compensation between men and women at CHR.
because she improperly aggregated the data and            See Dukes v. Wal-Mart Stores, Inc., 222 F.R.D. 137,
because she failed to take into account the most          155 (N.D.Cal.2004) ("[T]he Court delves into the
important compensation factor--productivity. Dr.          substance of the expert testimony only to the extent
Becker opines that by aggregating the workforce, Dr.      necessary to determine if it is sufficiently probative
Thornton skewed the relevant labor market. CHR            of an inference of discrimination.").
also directs the Court's attention to cases involving
decentralized businesses that have found a lack of         *10 With respect to hourly employees, the Court's
commonality in compensation class claims because          review of the record reveals no statistical evidence to
the compensation determinations were exclusively          support an inference of discrimination. Specifically,
within the province of local managers. See Seidel v.      Dr. Becker opines that there is no evidence that
Gen. Motors Acceptance Corp., 93 F.R.D. 122, 124          hourly employees were underpaid to a statistically
(W.D.Wash.1981) (denying class certification in part      significant degree. Plaintiffs do not dispute her
on the absence of commonality because employment          assertion. Given this, the Court concludes that
decisions, including compensation, were made              commonality is not met with regard to hourly

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employees. Accordingly, the Court finds that the            forth by Dr. Thornton because she arrived at her
compensation class should consist only of salaried          results using hypothetical applicant pools. Finally,
employees.                                                  while CHR's expert Dr. Becker did not conduct her
                                                            own promotions analysis, she nevertheless opines
b. Promotion                                                that Dr. Thornton's analysis is faulty because it
                                                            cannot be reliably correlated.
 Next, Plaintiffs contend that commonality is satisfied
in their promotions class because the issues of              *11 After reviewing the record, the Court concludes
whether CHR discriminated against women in                  that commonality is met with respect to the
granting promotions to branch manager and whether           promotion class. The Court's concern regarding the
CHR's branch manager promotion process, or lack of          presence of individual fact issues due to CHR's
a formal promotions process, had a disparate impact         decentralized nature is outweighed, at this stage, by
on women are common to all class members' claims.           the uniformity of CHR's subjective decision making
According to Plaintiffs, CHR failed to promote              and failures to post available positions, to have any
women proportionally to their workforce numbers             formal path to promotion and to maintain a record-
because it operated an all-male, centralized subjective     keeping system of promotions. See Morgan, 169
decision-making promotions process, employed a              F.R.D. at 355 (concluding that because defendant's
gender-biased       personality    test     to    assess    decentralized system was supported by uniform
promotability, failed to post branch manager                policies, the individualized nature of the promotions
opportunities, and failed to utilize an application         decisions supported, rather than prevented a finding
process in favor of a "tap on the shoulder" policy.         of commonality); see also Dukes, 222 F.R.D. at 149-
Plaintiffs also contend that the system was reinforced      150 (collecting cases). Under CHR's promotion
by CHR's failure to keep records or audit the process       equation, the branch managers have total discretion
for discrimination. Plaintiffs support their claims with    to promote or identify candidates for promotional
Dr. Thornton's statistical analysis of CHR's branch         consideration. Then, the all-male vice presidents may
manager promotions. With regard to branch manager           approve or deny the promotion, or offer their own
promotions, Dr. Thornton found a disparity in the           candidate. The Court concludes that this process,
number of women branch managers (4.2%) as                   coupled with the statistical analysis of Dr. Thornton,
compared to women in the CHR workforce (34%).               which demonstrates at least an inference of
Based on the minimum requirements distilled from            discrimination, supports a finding of commonality.
analysis of the 117 promotions to branch manager            See Caridad v. Metro-North Commuter R.R., 191
between 1999-2002, Dr. Thornton created                     F.3d 283, 292 (2d Cir.1999) ("Where the decision-
hypothetical pools to establish a qualified applicant       making process is difficult to review because of the
group. From those pools, Dr. Thornton conducted             role of subjective assessment, significant statistical
multiple regression analysis and determined that 18         disparities are relevant to determining where the
of the 117 promotions should have gone to women.            challenged employment practice has a class-wide
In actuality, only 7 of the 117 promotions went to          impact.").
women.
                                                            c. Sexual Harassment
 In response, CHR contends that commonality is not
met because the determinations involved in assessing         Plaintiffs contend that their proposed sexual
promotion candidates are individualized and based on        harassment class satisfies the commonality
the specific needs of each branch, not general              requirement because the issue of whether CHR
qualifications. At oral argument, CHR put forth two         fostered or tolerated sexually hostile environments in
examples of the individualized nature of branch             the branch offices is common to all of the class
manager promotions. First, the opening for a branch         members. Plaintiffs assert that hostile environments
manager at the Charleston International branch              exist at a majority, if not all, of the CHR branches
required the candidate to have an international             where women are employed, that these hostile work
brokerage license. Second, the opening for a branch         environments were promoted by the branch managers
manager at Laredo, Texas, required hiring someone           as well two operational vice presidents, Barry
outside the company because there were systemic             Butzow and Joe Mulvehill, and that CHR knew that
problems at the Laredo branch. According to CHR,            female employees were being subjected to
these are but a few of illustrations of why each            pornography and sexual harassment and failed to take
branch manager position requires individualized             remedial action in a timely fashion.
analysis. CHR also disputes the statistical results put

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 In support, Plaintiffs put forth anecdotal evidence        or suspensions for approximately nine employees--
from female employees, evidence regarding CHR's             both male and female--and the branch manager, Jeff
oversight of complaints of harassing conduct, and the       Scovill, was suspended without pay for thirty days
expert report of Dr. Peter Glick, a social                  and was required to attend management-training
psychologist. This anecdotal evidence comes from            courses.
numerous affidavits and declarations, the majority of
which focus on the prevalent use of foul language            Plaintiffs also present Dr. Glick's expert report in
and frequent occurrences of male co-workers either          support of their theory that a culture existed at CHR
looking        at     on-line        pornography       or   that demeaned women, thereby producing a hostile
receiving/viewing/sending pornographic emails. For          work environment. His report is based primarily on
example, Hossenlopp, Nelson, Perky and Roberts              the declarations and deposition testimony of male and
testified to witnessing pornographic images on their        female CHR employees. Dr. Glick opines that even a
male co-workers' computer screens, and many of              few instances of behavior that degrades women have
Plaintiffs' declarants attest to being aware of male co-    the potential to create a gender-biased atmosphere.
workers and managers viewing pornography because            He theorizes generally that sexism is either hostile or
men were seen clustered around one computer,                benevolent and often is induced by group mentalities-
laughing and pointing. Plaintiffs also allege the           -i.e. "men who might not otherwise have a
prevalent use of unprofessional language by their           predisposition to sexually demean women, can be
male co-workers. In particular they refer to the use of     encouraged to do so by an environment that
the words "fuck" and "rape," as well as derogatory          sexualizes women and conveys permissive norms
terms directed specifically at women, such as               about treating them as sex objects." (Glick Rep. at
"whore." Plaintiffs also claim that comments were           11.) According to Dr. Glick, CHR is a male-
commonly made by male co-workers regarding the              dominated culture that encourages male employees to
manner in which female co-workers were dressed and          engage in stereotypical masculine forms of
their sexual proclivities. Declarants allege that on two    misbehavior, and that the culture results in an
occasions striptease artists performed in the               environment that "appears to be highly sexualized in
workplace, once in the Richmond branch and once in          its treatment of women." (Id. at 19.)
the Los Angeles branch. Finally, offensive behavior
also occurred on an individualized basis. Examples of        In response, CHR contends that commonality is not
such behavior include Kinniry's deposition testimony        met because the question of whether a hostile
that Mark Derks, her supervisor, made comments to           environment exists is too individualized in that
her such as: "Stop sucking on your finger, it's making      branch managers are each responsible for
me horny," and "Now that you are leaving, I can tell        maintaining a professional office environment and
you that I always wanted to have sex with you," and         therefore, these issues are not susceptible to common
Roberts' deposition testimony that at a branch retreat      proof and class treatment. Specifically, CHR argues
Eric Gebuhr, a male co-worker, slapped her hip and          that not all of the branches had complaints of hostile
buttock and stated: "Why are you playing hard to            environments, and for the remaining branches, the
get?"                                                       Court will necessarily have to conduct mini-trials to
                                                            establish whether the environment at each branch was
 *12 Plaintiffs also put forth documentation regarding      objectively hostile. Moreover, CHR contends that it
CHR's HR and legal departments' involvement in              took all reasonable preventative measures, that all
complaints of sexual harassment or inappropriate            complaints were remedied in a timely fashion, and
behavior. According to Plaintiffs, CHR's responses          that perpetrators were disciplined for any offensive
were ineffective and delayed. Plaintiffs cite as an         behavior. [FN10]
example a complaint made by Perkey on February
23, 2001, using CHR's anonymous hotline. Perkey                      FN10. CHR also argues that the record does
complained after observing a pornographic image on                   not support Plaintiffs' claims of CHR's
a male co-worker's computer in the Minneapolis                       centralized policy of discrimination, and
branch. Shortly thereafter, Carlson also called and                  specifically the allegations regarding
complained about the branch. After these complaints,                 Mulvehill and Butzow. These arguments,
over the course of the next six months, CHR required                 however, address the merits of Plaintiffs'
all of the Minneapolis International employees to                    claims and therefore the Court will not
attend a day of sexual-harassment training and CHR                   consider them at this time. See Eisen, 417
hired outside counsel to come in to investigate the                  U.S. at 178.
complaints. The investigation resulted in reprimands

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 The parties fundamentally disagree as to whether           pervasive conduct," and that "Plaintiffs have made no
class claims for sexual harassment over multi-facility      attempt to explain how their hostile environment
employers can meet the commonality requirement.             claims [could] be proven on a class-wide basis given
The Court's review of the relevant case law finds           that many members of the class did not experience
such decisions to be highly fact-specific. For              harassment and that those who did complained of
example, in Wilfong v. Rent-A-Center, Inc., Civ. No.        harassment in various forms." Id. at 676.
00- 680, 2001 WL 1795093 (S.D.Ill.Dec.27, 2001),
the court certified a class alleging claims of hostile       After reviewing the relevant case law and the parties'
work environment against a defendant with over              arguments, the Court concludes that Plaintiffs have
2200 stores. 2001 WL 1795093, at *6. That court             failed to meet their burden to establish commonality
found commonality based on: (1) evidence that               with respect to sexual harassment. With regard to
demonstrated repeated failures of management to             Plaintiffs' assertions about the existence of CHR's
respond to plaintiffs' complaints; (2) the statements of    centralized policy and practice of tolerating or
the defendant's CEO, including his comments that the        promoting sexual harassment, the Court is not
company would not "have as many sexual harassment           persuaded that Plaintiffs' anecdotal evidence
suits" as the number of women employees declined;           demonstrates the existence of such a policy, let alone
and (3) judicial estoppel because the defendant             an inference of intentional discrimination arising
conceded       commonality         during     settlement    from such a policy. Moreover, Plaintiffs fail to
negotiations in a concurrent gender discrimination          demonstrate that the question of whether Plaintiffs in
class action. See id., at *4, *6 n. 7. The Wilfong court    different branches are subjected to severe and
rejected defendant's argument that the need for             pervasive harassment based on sex is subject to
individualized assessments of sexual harassment             common proof. The decentralized and independent
claims precluded a finding of commonality because           nature of the branches and business lines defeats a
those individual issues could be addressed in the           finding of commonality in this case. Indeed, Smyrl
remedial phase, see id., at *5. Although smaller in         testified that she experienced a hostile environment in
scale, this Court in Beckmann v. CBS, Inc., 192             only one of the two CHR branches where she
F.R.D.     608,     613-14,      619     (D.Minn.2000),     worked. Furthermore, Nelson, who worked in four
conditionally certified a class in a sexual harassment      different departments in the same branch, testified to
case after finding that commonality existed among           a hostile environment in only two out of the four.
class members who worked in five geographically             Although promotion claims were at issue, the Court
diverse stations under general managers who all             finds the following pronouncements of the Supreme
reported to the same vice president.                        Court germane to the present situation:
                                                               Conceptually, there is a wide gap between (a) an
 *13 On the other hand, the court in Faulk v. Home             individual's claim that he has been denied a
Oil Co., 184 F.R.D. 645 (M.D.Ala.1999), certified              promotion on discriminatory grounds, and his
hiring and promotion classes but denied certification          otherwise unsupported allegation that the company
for a hostile work environment class because the               has a policy of discrimination, and (b) the existence
twenty-one facilities at issue were not subject to             of a class of persons who have suffered the same
common proof. 184 F.R.D. at 659. Rather, the court             injury as that individual, such that the individual's
concluded that because the hostile environment                 claim and the class claims will share common
claims were dependent on the comments and actions              questions of law or fact and that the individual's
of individual store managers, the "individual claims           claim will be typical of the class claims. For
of hostile work environment [were] sufficiently                respondent to bridge that gap, he must prove much
different that they [would] require different proof to         more than the validity of his own claim.
establish liability." Id. Similarly, the court in Reid v.     *14 Falcon, U.S. at 157-58 (emphasis added).
Lockheed Martin Aeronautics Co., 205 F.R.D. 655             Without more, Plaintiffs in this case have failed to
(N.D.Ga.2001), denied certification of a hostile work       bridge the gap between individualized hostile work
environment class claim over multiple facilities            environment claims and common questions of law
because "the actions constituting the alleged hostile       susceptible to common proof. See id. Accordingly,
environment occurred with varying frequency and             the Court concludes that the facts of this case
possessed varying degrees of severity." 205 F.R.D. at       preclude a finding of commonality with respect to the
675-76. The court noted that "those individuals who         sexual harassment class.
have complained only about the occasional, sporadic
acts of co-workers [were] not typical of other              3. Typicality
individuals who described much more severe and

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 Typicality requires that the claims of the                similar legal theories as those alleged by the class.
representative parties be typical of the claims of the
class." Fed.R.Civ.P. 23(a)(3). As such, "a class           4. Adequacy
representative must be part of the class and possess
the same interest and suffer the same injury as the         *15 The final Rule 23(a) factor requires that "the
class members." Falcon, 457 U.S. at 156 (citations         representative parties will fairly and adequately
omitted); see also Dukes, 222 F.R.D. at 143-44 ("The       protect the interest of the class ." Fed.R.Civ.P.
named plaintiffs' claims need not be identical to the      23(a)(4). "In deciding this question, the Court
claims of the class to satisfy typicality; rather the      considers (a) whether the class representatives and
claims are typical if they are reasonably co-extensive     their counsel will competently and vigorously pursue
with those of absent class members. It is sufficient       the action, and (b) whether differences exist between
for plaintiffs' claims to arise from the same remedial     the interest of the class representatives and the
and legal theories as the class claims.") (citations       putative class." Morgan, 169 F.R.D. at 357.
omitted). Although some courts combine the
components of commonality and typicality into one           In approving class counsel, the Court must consider:
factor, the Eighth Circuit Court of Appeals has made       (1) counsel's work thus far in the action; (2) counsel's
clear that these are two separate components. Paxton,      experience in handling class actions, and specifically,
688 F.2d at 562. In general, "the burden of showing        in handling claims of the type asserted in the action;
typicality is not an onerous one." Id.                     (3) counsel's knowledge of the applicable law; (4) the
                                                           resources counsel will commit to representing the
a. Compensation                                            class; and (5) any other matter pertinent to counsel's
                                                           ability to fairly and adequately represent the interest
 Gwen Carlson, Carol Flannigan, Amy Hossenlopp,            of the class. Fed R. Civ. P. 23(g)(1)(C)(i)-(ii). CHR
Debra Kinniry, Sandra Nelson, Cathy Perky, Tricia          does not contest the adequacy of the named Plaintiffs
Porter, Andrea Prout, Lee Ann Puckett, Angela              and their counsel to represent the classes. Plaintiffs'
Roberts, Jennifer Smyrl and Jessica Vetter are named       counsel, Sprenger & Lang, has put forth evidence of
as representative Plaintiffs for the compensation          their frequent participation in class-action lawsuits, a
class. CHR does not dispute that these Plaintiffs'         number of which have involved allegations of gender
claims satisfy the typicality requirement of Rule          discrimination in employment. The Court concludes
23(a)(3). All of the named Plaintiffs are or were at       that Sprenger & Lang has performed sufficient work
some point salaried employees and all allege that          in identifying or investigating the potential claims in
they have been paid less than similarly situated male      this action, they have experience in handling
co-workers. Accordingly, the Court concludes that          employment discrimination class actions, they are
their claims are reasonably co-extensive with that of      familiar with the law relating to gender
the compensation class and therefore, the class            discrimination in class actions, and they will continue
representatives' claims satisfy the typicality             to commit the resources necessary to this litigation.
requirement.                                               Accordingly, the Court finds that Plaintiffs' counsel
                                                           satisfies the adequacy prong.
b. Promotion
                                                            The next step is to ascertain whether differences
 Plaintiffs Carlson, Hossenlopp, Porter, Prout,            exist that make the named Plaintiffs' claims and
Puckett and Smyrl are named as representative              interests antagonistic to the rest of the class. See
Plaintiffs of the promotions class. The Court's review     Morgan, 169 F.R.D. at 357. The Court's review of the
of the record reveals that Andrea Prout is not typical     record has not found any evidence that demonstrates
of the class because she does not fall within the class    that the class representatives are inadequate in this
definition. Because she was employed by CHR for            regard. Accordingly, the Court concludes that the
only 22 months, Prout therefore does not satisfy the       respective class representatives will adequately serve
two-year tenure requirement. The remaining                 the interests of the proposed classes.
Plaintiffs, Carlson, Hossenlopp, Porter, Puckett and
Smyrl, are or were employed by CHR for at least two        C. Rule 23(b) Subsections
years in sales or operations, and each contends that
she was denied promotion opportunities because of           Having concluded that Plaintiffs' compensation and
her gender. Accordingly, the Court concludes that          promotion classes satisfy the Rule 23(a) factors, the
typicality is met with respect to the remaining named      Court now turns to Rule 23(b). Plaintiffs argue that
Plaintiffs because their claims arise from the same or     these classes are appropriately certified under Rule

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23(b)(2), or in the alternative, a hybrid of Rule           42 U.S.C. § 1981a(b)(1) ("A complaining party may
23(b)(2) and 23(b)(3). Rule 23(b)(2) requires that          recover punitive damages under this section ... if the
"the party opposing the class has acted or refused to       complaining party demonstrates that the [defendant]
act on grounds generally applicable to the class,"          engaged in a discriminatory practice or
making declaratory or injunctive relief appropriate.        discriminatory practices with malice or with reckless
Fed.R.Civ.P. 23(b)(2). Plaintiffs seek injunctive           indifference to the federally protected rights of an
relief, including an order requiring CHR to adopt           aggrieved individual." (Emphasis added)); see also
policies and procedures in accordance with Title VII        State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S.
and enjoining CHR from continuing its allegedly             408, 423, 123 S.Ct. 1513, 155 L.Ed.2d 585 (2003)
discriminatory policies and practices. Plaintiffs also      ("A defendant should be punished for the conduct
seek back pay and front pay (collectively, lost             that harmed the plaintiff, not for being an unsavory
wages), nominal damages and punitive damages.               individual or business."); see generally Beck v.
CHR contends, inter alia, that Rule 23(b)(2)                Boeing Co., Civ. No. 00-301-MJP, 2003 WL 683797,
certification is inappropriate because the requests for     at *1 (9th Cir. February 25, 2003) (holding that the
monetary damages are not incidental to the injunctive       district court erred in certifying class-wide punitive
relief.                                                     damages without certifying underlying request for
                                                            back-pay damages); but see Anderson v. Boeing Co.,
 *16 Rule 23(b)(2) certification is appropriate in          222 F.R.D. 521, 540-42 (N.D.Okla.2004) (certifying
cases where the plaintiffs seek injunctive relief so        a Rule 23(b)(2) class where plaintiffs requested
long as injunctive or declaratory relief is the             injunctive relief, back pay and punitive damages).
predominant relief sought for the class. Paxton, 688
F.2d at 563; Morgan, 169 F.R.D. at 358. The                  However, this conclusion does not preclude the
question of whether injunctive or declaratory relief        certification of a Rule 23(b)(2) class. See Robinson,
predominates is a matter for the Court's discretion.        267 F.3d at 162-66; Williams v. Boeing Co., 225
Morgan, 169 F.R.D. at 358. Here, the Court                  F.R.D. 626, 638-39 (W.D.Wash.2005). Pursuant to
concludes that Plaintiffs' primary request for relief is    Rule 23(c), the Court has discretion to limit
injunctive and therefore, certification of a Rule           certification to specific issues. Fed.R.Civ.P.
23(b)(2) class is warranted.                                23(c)(4)(A); see Robinson, 267 F.3d at 167 ("District
                                                            courts should take full advantage of [23(c)(4)(A) ] to
 However, Plaintiffs' request for lost wages, nominal       certify separate issues in order to reduce the range of
damages and punitive damages, necessitates a                disputed issues in complex litigation and achieve
second, remedial phase to the litigation that is            judicial efficiencies.") (Quotations omitted)); accord
separate from resolution of their claim for injunctive      Morgan, 169 F.R.D. at 358. Accordingly, the Court
relief. See Robinson v. Metro-North Commuter R.R.,          severs the issues of liability and declaratory or
267 F.3d 147, 159 (2d Cir.2001) ("If individual relief      injunctive relief from Plaintiffs' requests for
such as back pay, front pay, or compensatory                monetary damages and certifies only the issue of
recovery is sought in addition to class-wide                liability and request for declaratory or injunctive
injunctive relief, the court must conduct the 'remedial'    relief as a Rule 23(b)(2) class action. [FN11] See
phase."). Importantly, these damages inquiries              Morgan, 169 F.R.D. at 358. If liability is established
require individualized factual determinations whose         in either the compensation or promotion class, then
manageability could overwhelm the litigation.               the Court will consider Plaintiffs' motion to certify
                                                            the damages phase as a Rule 23(b)(3) class action.
 Plaintiffs argue that the Court should fashion a           See id.; Williams, 225 F.R.D. at 638-39.
formula for the distribution of lost wages and
punitive damages, thereby obviating the need for                     FN11. Having decided that only a Rule
individualized determinations. In support, Plaintiffs                23(b)(2) class is appropriate at this time, the
rely on Palmer v. Combined Insurance Co. of                          Court will not address Plaintiffs' alternative
America, 217 F.R.D. 430 (N.D.Ill.2003). In that case,                request that the Court certify a hybrid Rule
the court found a unique set of circumstances where a                23(b)(2)/ 23(b)(3) class.
blanket award of punitive damages based on the
defendant's conduct might be appropriate. Id. at 439-        *17 Having certified the compensation and
40. Those circumstances are not present in this case        promotion classes under Rule 23(b)(2), the Court
and the Court is not persuaded that, on the record          must now decide if notice should be sent to class
thus far, a blanket award of punitive damages not           members. In certifying a Rule 23(b)(2) class, the
premised on individualized harm is appropriate. See         Court has discretion to "make appropriate orders ...

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requiring for the protection of the members of the          work environment. In response, Plaintiffs rely on
class or otherwise for the fair conduct of the action,      newly-filed declarations (July 2004 Declarations) to
that notice be given in such manner as the court may        create issues of material fact that would preclude
direct to some or all of the members of any step in         summary judgment. CHR argues that these
the action." Fed.R.Civ.P. 23(d)(2). Given this, the         declarations constitute sham affidavits and therefore
Court requests supplemental briefing on the issue of        are inadmissible.
whether notice should be sent. [FN12]
                                                             A plaintiff cannot create sham issues of fact in an
         FN12. The Court sets the following                 effort to defeat summary judgment by filing an
         schedule. The parties shall simultaneously         affidavit    contradicting    deposition   testimony.
         submit briefs on the issue no later than 14        Marathon Ashland Petroleum, LLC. v. Int'l Bhd. of
         days from the date of this Order. The briefs       Teamsters, 300 F.3d 945, 951 (8th Cir.2002). The
         shall be no longer than 10 pages in length         court in Marathon reasoned that "this is so because
         and shall be limited in scope to the issue of      otherwise any party could head off summary
         notice. There shall be no reply briefs.            judgment by supplanting previous depositions ad hoc
                                                            with a new affidavit, and no case would ever be
       IV. PLAINTIFFS' MOTION FOR PARTIAL                   appropriate for summary judgment." Id. (quotations
               SUMMARY JUDGMENT                             omitted). To the extent that the July 2004
 Plaintiffs have moved for summary judgment as to           Declarations raise inconsistent or contradictory
liability of the hostile work environment class.            allegations, the Court strikes those paragraphs.
Because no hostile work environment class has been          Because Plaintiffs' arguments in their combined
certified, Plaintiffs' motion is moot. Accordingly, the     response to CHR's summary-judgment motions rely
Court denies Plaintiffs' motion.                            exclusively on the July 2004 Declarations, the Court
                                                            has undertaken a thorough examination of the record,
 V. CHR's MOTIONS FOR PARTIAL SUMMARY                       specifically Plaintiffs' deposition testimony, EEOC
                     JUDGMENT                               charges, and answers to interrogatories as provided,
 Summary judgment is proper "if the pleadings,              to ensure that any genuine issues of fact are
depositions, answers to interrogatories, and                identified. Accordingly, the Court recites below the
admissions on file, together with the affidavits, if        facts relating to each Plaintiff in the light most
any, show that there is no genuine issue as to any          favorable to her without discussion of any stricken
material fact and that the moving party is entitled to a    portions of the July 2004 Declarations.
judgment as a matter of law." Fed.R.Civ.P. 56(c).
The moving party "bears the initial responsibility of       A. Hostile work environment
informing the district court of the basis for its
motion," and must identify "those portions of [the           *18 Title VII of the Civil Rights Act of 1964 makes
record] which it believes demonstrate the absence of        it unlawful "for an employer ... to discriminate
a genuine issue of material fact." Celotex Corp. v.         against any individual with respect to his
Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91              compensation, terms, conditions, or privileges of
L.Ed.2d 265 (1986). If the moving party satisfies its       employment because of such individual's race, color
burden, Rule 56(e) requires the nonmoving party to          religion, sex, or national origin." 42 U.S.C. § 2002e-
respond by submitting evidentiary materials that            2(a)(1). Discrimination based on sex which creates a
designate "specific facts showing that there is a           hostile or offensive work environment violates Title
genuine issue for trial." Matsushita Elec. Indus. Co.       VII. See Meritor Savings Bank v. Vinson, 477 U.S.
v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S.Ct.         57, 66, 106 S.Ct. 2399, 91 L.Ed.2d 49 (1986).
1348, 89 L.Ed.2d 538 (1986). In determining whether         "Sexual harassment standards are demanding--to be
summary judgment is appropriate, a court must look          actionable, conduct must be extreme and not merely
at the record and any inferences to be drawn from it        rude or unpleasant." LeGrand v. Area Res. for Cmty.
in the light most favorable to the nonmoving party.         & Human Servs., 394 F.3d 1098, 1101 (8th Cir.2005)
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255,         (quotations omitted). "More than a few isolated
106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).                      incidents are required, and the alleged harassment
                                                            must be so intimidating, offensive, or hostile that it
 CHR contends that it is entitled to summary                poisoned the work environment." Id. (quotations
judgment on each Plaintiff's individual claim for           omitted). A plaintiff must prove that her workplace
hostile work environment because none of the named          was "permeated with discriminatory intimidation,
Plaintiffs can establish a prima facie case for hostile     ridicule, and insult." Harris v. Forklift Sys., Inc., 510

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U.S. 17, 21, 114 S.Ct. 367, 126 L.Ed.2d 295 (1993).         stated that "the plaintiff ... must always prove that the
"These standards for judging hostility are sufficiently     conduct at issue was not merely tinged with offensive
demanding to ensure that Title VII does not become a        sexual connotations, but actually constituted
general civility code. Properly applied, they will filter   'discrimina [tion] ... because of ... sex." ' 523 U.S. at
out complaints attacking the ordinary tribulations of       81.
the workplace, such as the sporadic use of abusive
language, gender related jokes and occasional                2. Harassment affects a term, condition, or privilege
teasing." Faragher v. City of Boca Raton, 524 U.S.          of employment
775, 778, 118 S.Ct. 2275, 141 L.Ed.2d 662 (1998)
(internal citations and quotations omitted).                 *19 To satisfy the fourth element of the prima facie
                                                            case, the unwelcome harassment must be sufficiently
 To establish a prima face case of hostile work             severe or pervasive so as to affect a term, condition,
environment based on sex, a plaintiff must show that:       or privilege of employment by creating an objectively
(1) she is a member of a protected group; (2) she was       hostile or abusive environment. Harris, 510 U.S. at
subjected to unwelcome sexual harassment; (3) the           21-22; Meriwether v. Caraustar Packaging Co., 326
harassment was based on sex; (4) the harassment             F.3d 990, 993 (8th Cir.2003). To meet this standard,
affected a term, condition or privilege of her              a plaintiff must show that she subjectively perceived
employment; and (5) if the harasser is a non-               the harassment as sufficiently severe or pervasive to
supervisory employee, that the employer knew or             alter the terms or conditions of employment, and that
should have known of the harassment and failed to           her subjective perception was objectively reasonable.
take proper remedial action. Scusa v. Nestle U.S.A.         Harris, 510 U.S. at 21-22; Henthorn v. Capitol
Co., 181 F.3d 958, 965 (8th Cir.1999). Before               Communications, Inc., 359 F.3d 1021, 1026 (8th
considering whether each Plaintiff establishes her          Cir.2004) ("The fourth element involves both
prima face case, the Court sets forth the governing         objective and subjective components."). Whether a
law regarding the third, fourth and fifth elements.         reasonable person would have perceived the
[FN13]                                                      environment as hostile is a function of both the
                                                            severity and pervasiveness of the offensive conduct,
         FN13. For each Plaintiff, CHR moves on             "with a high level of severity compensating for a low
         some combination of these three elements.          level of pervasiveness and vice versa." Jackson v.
         Accordingly, the Court assumes for the             Flint Ink N. Am. Corp., 370 F.3d 791, 794 (8th Cir.),
         purposes of these motions that each Plaintiff      rev'd on other grounds, 382 F.3d 869 (8th Cir.2004).
         has established the first and second               A court must look to the totality of the circumstances
         elements.                                          to determine whether the work environment is hostile
                                                            or abusive. Baker v. John Morrell & Co., 382 F.3d
1. Harassment based on sex                                  816, 828 (8th Cir.2004). "Each case must stand on its
                                                            own circumstances." Eich v. Bd. of Regents for Cent.
 To satisfy the third element of the prima facie case, a    Mo. State Univ., 350 F.3d 752, 760 (2003). Several
plaintiff must demonstrate that the harassment is           factors are relevant, including, "the frequency of the
based on sex. "An offensive workplace atmosphere            discriminatory conduct; its severity; whether it is
does not amount to unlawful discrimination unless           physically threatening or humiliating, or mere
one gender is treated differently than the other."          offensive utterance; and whether it unreasonably
Duncan v. Gen. Motors Corp., 300 F.3d 928, 933              interferes with an employee's work performance."
(8th Cir.2002) (citing Oncale v. Sundowner Offshore         Harris, 510 U.S. at 23. "The question of whether an
Servs., Inc., 523 U.S. 75, 80, 118 S.Ct. 998, 140           environment is sufficiently hostile to be actionable is
L.Ed.2d 201 (1998)). A plaintiff need not show "that        a legal question, and like any legal question is a
only women were subjected to harassment, so long as         matter for the court to decide." Jackson, 382 F.3d at
she shows that women were the primary target of             869.
such harassment." Beard v. Flying J, Inc., 266 F.3d
792, 798 (8th Cir.2001); see Duncan, 300 F.3d at             As discussed in detail below, Plaintiffs allege
934. "All instances of harassment need not be               exposure to pornography in the workplace. The Court
stamped with signs of overt discrimination to be            notes that this alone is not sufficient to meet the
relevant under Title VII if they are part of a course of    demanding standard for whether an environment is
conduct which is tied to evidence of discriminatory         sufficiently hostile to be actionable. By way of
animus ." Carter v. Chrysler Corp., 173 F.3d 693,           example, the Eighth Circuit Court of Appeals in
701 (8th Cir.1999). In Oncale, the Supreme Court            Duncan found that this standard was not met where at

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least one component of a plaintiff's alleged                judgment where employer took four months to
harassment was exposure to her supervisor's                 respond to the plaintiff's initial complaint).
pornographic screensaver. See Duncan, 300 F.3d at
935. In that case, the Eighth Circuit overturned a jury              FN14. In cases where the harasser is a
verdict and concluded that the district court erred in               supervisor, "[a]n employer is subject to
denying the defendant's post-trial motion for                        vicarious liability to a victimized employee
judgment as a matter of law because the plaintiff had                for an actionable hostile environment
failed to show that the harassment was "sufficiently                 created by a supervisor with immediate (or
severe or pervasive so as to alter the conditions of her             successively higher) authority over the
employment, a failure that dooms [her] hostile work                  employee." Faragher, 524 U.S. at 807.
environment claim." Id. The court considered several                 "When no tangible employment action is
harassing incidents over three years directed at the                 taken, a defending employer may raise an
plaintiff including her supervisor's proposition for a               affirmative defense to liability or damages."
relationship, criticism that she was "incompetent"                   Id. The affirmative defense is comprised of
after she denied his proposition, improper touching of               two elements: "(a) that the employer
plaintiff's hand on multiple occasions, request that the             exercised reasonable care to prevent and
plaintiff sketch a sexually objectionable planter,                   correct promptly any sexually harassing
posting of a "Man Hater's Club" poster that portrayed                behavior, and (b) that the plaintiff employee
plaintiff as the president and CEO, and request that                 unreasonably failed to take advantage of any
the plaintiff "type the He-Men Women Haters                          preventive or corrective opportunities
beliefs." Id. at 933-34. The supervisor also had in his              provided by the employer or to avoid harm
office a child's pacifier in the shape of a penis and a              otherwise." Id.
pornographic screen saver on his computer. Id. at
931. The court found that the harassment made the           B. Plaintiffs' exposure to pornography
plaintiff uncomfortable and was "boorish,
chauvinistic, and decidedly immature," but that in the       For the sake of brevity, the Court addresses here the
aggregate, it did not meet the standard necessary to        question of whether Plaintiffs' individual allegations
be actionable. Id. at 934-35.                               of exposure to pornography in the workplace
                                                            constitute harassment "based on sex." [FN15] The
3. Employer's prompt remedial action                        parties do not dispute that each Plaintiff, with the
                                                            exception of Kinniry, alleges at least one instance of
 *20 To satisfy the fifth element, a plaintiff must         inadvertently seeing pornography on a co-worker's
demonstrate that the employer knew or should have           computer. Plaintiffs assert that the absence of
known of the harassment and failed to take proper           partitions separating workspaces and the close
remedial action. "Prompt remedial action shields an         proximity of co-workers to each other facilitated this
employer from liability when the harassing conduct is       involuntary exposure to pornography.
committed by a co-worker rather than by a
supervisor." [FN14] Meriwether, 326 F.3d at 993.                     FN15. CHR also argues that other plaintiff-
The remedial action must be "reasonably calculated                   specific conduct is not based on sex. The
to end the harassment once the employer knew or                      Court considers those arguments as they
should have known about the harassment." Scusa,                      arise in relationship to each Plaintiff.
181 F.3d 967. Several factors are relevant in
assessing the reasonableness of an employer's                CHR contends that Plaintiffs' exposure to
remedial measures: "the temporal proximity between          pornography in this case does not constitute
the notice and remedial action, the disciplinary or         harassment based on sex. Since CHR did not move
preventative measure taken and whether the measures         on the ground that Plaintiffs failed to establish the
ended the harassment." Meriwether, 326 F.3d at 993.         second element of the prima facie case, the Court
See Scusa, 181 F.3d at 968 ("The undisputed                 assumes that Plaintiffs' exposure to pornography
evidence showed that every time she complained to           constitutes unwelcome harassment. Thus, the issue
management, it responded to her satisfaction.               before the Court in CHR's motions is whether the
Moreover, after management took action, the                 alleged harassment is "based on sex." In support of its
incidents were not repeated. Thus, management took          argument, CHR primarily relies on an unpublished
appropriate action to end the alleged sexual                Eighth Circuit opinion, Ellet v. Big Red Keno, 221
harassment."); Smith v. St. Louis Univ., 109 F.3d           F.3d 1342, 1342 (8th Cir.2000) (unpublished table
1261, 1265 (8th Cir.1997) (denying summary                  decision). In Ellet, the Eighth Circuit stated: "A

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dually offensive sexual atmosphere in the workplace,       all six of CHR's business lines. From May 1998 to
no matter how offensive, is not unlawful                   March 1999, Nelson held a salaried operations
discrimination unless one gender is treated                position in Intermodal. Nelson then transferred to an
differently." Id. As applied in the instant cases, CHR     hourly support position in accounts payable. In
argues that because both sexes were exposed to the         September 1999, she became a salaried
pornography, each Plaintiff's branch constitutes a         replenishment analyst in CPDS. Nelson stayed in
"dually offensive" environment and therefore,              CPDS until her September 2000 resignation.
exposure to pornography does not amount to
harassment based on sex. In response, Plaintiffs rely       Nelson contends that she was subjected to severe and
on Andrews v. Philadelphia, 895 F.2d 1469, 1482 n.         pervasive sexual harassment only during her time in
3 (3d Cir.1990), for that court's pronouncement that       Intermodal (May 1998-March 1999) and in CPDS
pornographic materials should be recognized as             (September 1999-September 2000). Nelson alleges
discrimination based on sex as a matter of course.         that in both locations her male co-workers frequently
The Court is not persuaded by either argument. A           viewed and shared pornographic images. In her
determination of whether harassment is "based on           deposition, she testified to seeing several of these
sex" must be made given all of the attendant               images generally--i.e., naked or barely clad women in
circumstances. Cf. Oncale, 523 U.S. at 81-82 ("The         a variety of poses. She specifically recalls seeing one
real social impact of workplace behavior often             image during her time in CPDS--that of a woman
depends on a constellation of surrounding                  doing the limbo with her genitalia exposed. Nelson
circumstances, expectations and relationships which        also identifies four images: (1) a series of mock
are not fully captured by a simple recitation of the       MasterCard priceless ads; (2) an email portraying a
words used or physical acts performed.").                  Barbie doll as an exotic dancer with a Ken doll
Accordingly, a per se rule, either way, is not             giving her money; (3) a Barbie doll holding a bottle
appropriate.                                               of vodka with the words "Lactating Barbie" written
                                                           across the picture; and (4) an email attachment
 *21 Here, there is no dispute that CHR workspaces         entitled "Life" that displays a bag of narcotics, a
are open, with limited ability for co-workers to avoid     woman's vagina, and a large pile of cash between her
seeing each other's screens. Moreover, Plaintiffs'         legs. Nelson, however, does not remember where or
allegations almost exclusively involve images of           when she saw these pictures.
naked women. Viewing the facts in the light most
favorable to Plaintiffs, a reasonable fact finder could     Turning first to CPDS, Nelson contends that the
conclude that the unwelcome exposure to                    work environment in CPDS was hostile toward
pornography--specifically        that     pornography      women, herself included, because in addition to the
objectifying women--satisfies the "based on sex"           pornography, her male co-workers behaved
requirement. Accordingly, the Court rejects CHR's          inappropriately, as though they were in a "locker
argument that each Plaintiff's exposure to                 room." She stated:
pornography does not constitute harassment based on          [W]hen I was working in the CPDS department,
sex.                                                         there was a lot of--a lot of men that were in their
                                                             mid to late 20's and they--they would yell, they
C. CHR's Individual Motions                                  would holler, you know, smack each other on the
                                                             back or whatever, they would use, you know,
1. Jessica Vetter                                            profanities and it was just a real--you know,
                                                             chewing on--on tobacco and spitting it in cups and
 CHR moves for partial summary judgment on                   it just--it was just real you know it was almost like
Jessica Vetter's hostile work environment claim.             you know a college fraternity.
Vetter concedes that summary judgment is                    *22 (Nelson Tr. at 119.) In particular, Nelson
appropriate. See Pls.' Comb. Mem. Opp'n at 1 n. 1.         described one occasion when Dan Jost, a CPDS co-
Accordingly, the Court grants the motion.                  worker, yelled out to the entire office that a female
                                                           co-worker was pregnant. In fact, the female co-
2. Sandra Nelson                                           worker was not pregnant. Nelson felt embarrassment
                                                           for the female co-worker because others were
 Sandra Nelson was hired by CHR in August 1996 as          cheering and laughing before the female co-worker
an hourly administrative assistant in the Minneapolis      yelled out that she was not pregnant.
branch's    carrier-relations    department.     The
Minneapolis branch contains departments that service       During her time in Intermodal, Nelson alleges that

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male co-workers viewed pornography although not as         23. Moreover, there is no evidence in the record that
frequently as in CPDS. Nelson testified that there         it unreasonably interfered with Nelson's work. See id.
were three to five occasions when men were gathered        Accordingly, the Court concludes that Nelson fails to
around a computer. Although she could not see what         demonstrate a sexually hostile environment
was displayed on the screen, Nelson assumes that           sufficiently severe or pervasive so as to alter the
they were viewing pornography. Nelson alleges that         conditions of her employment. See Meritor, 477 U.S.
the following people sent or received pornographic         at 67; Duncan, 300 F.3d at 935. Because the conduct
emails: Dan Brau, Angela Stanely, Pat Anton, Kelly         does not rise to the level necessary to be actionable,
(last name not known), and Todd Limesand who was           the Court grants CHR's motion for summary
the Intermodal manager. Also during her time in            judgment on Nelson's sexual harassment claim.
Intermodal, Nelson recalls one incident when Tom
Perdue made a sexually derogatory remark about a           3. Andrea Prout
female known to several men in the office. When the
comment was made, Nelson felt uncomfortable, as             *23 CHR hired Andrea Prout in October 1999 in its
though the group of men were looking at her for a          Yakima, Washington, branch as a transportation sales
reaction. She informed Perdue that she thought it was      representative. In August 2000, Prout requested and
inappropriate for him to make that comment in her          received a transfer to CHR's Portland branch. After
presence and he apologized to her. Nelson did not          her transfer, Prout continued in transportation sales
complain about the environments in CPDS or                 until February 2001 when she began working in "less
Intermodal to immediate supervisors or through the         than a truckload" (LTL) sales. Prout resigned in
channels provided by CHR management. She                   August 2001.
contends that complaining would have made the
situation worse.                                            Prout contends that she was subjected to sexual
                                                           harassment at both the Yakima and Portland
 CHR contends inter alia that it is entitled to            branches. Prout identifies four kinds of evidence in
summary judgment because Nelson's alleged                  support of her claim: (1) her co-workers' prevalent
harassment was not so severe or pervasive as to alter      use of word "rape"; (2) her co-workers' viewing of
a term or condition of employment. First, the Court        pornography; (3) her co-workers' generally offensive
looks to whether Nelson subjectively perceived the         conversations; and (4) her dissatisfaction with the
alleged conduct to be harassment. See Harris, 510          management at the Portland branch. First, Prout
U.S. at 21-22. Viewing the facts in the light most         alleges that transportation sales representatives
favorable to Nelson, the record reveals that she           commonly used the word "rape" to refer to a load for
subjectively perceived the alleged harassment to be        which a trucker had charged too much, e.g., "that
so severe or pervasive as to alter a term or condition     trucker raped me." Prout was offended by this usage
of her employment.                                         and in the Yakima branch, brought it to the attention
                                                           of a co-worker who used the phrase excessively.
 The Court next turns to whether her subjective            After that, Prout did not hear him use it again. In the
perception was objectively reasonable. See id. Here,       Portland branch, Prout complained to Portland branch
Nelson saw several objectionable pornographic              manager Todd Ortman, about the use of the word
images on co-workers computers, overheard two              "rape." Prout believes that he did not address her
offensive comments directed at other women, and            complaint with her co-workers.
experienced a "locker-room" atmosphere. Notably,
none of the alleged harassment was directed at her.         Second, Prout alleges that co-workers in both
See Bainbridge v. Loffredo Gardens, Inc., 378 F.3d         branches viewed pornography on their computers. In
756, 760 (8th Cir.2004) (affirming grant of summary        Yakima, co-workers used "popcorn" as a code word
judgment in claim for racial hostile work                  for pornography. Prout received pornographic emails
environment where comments alleged were not                from co-workers and from unknown sources outside
directed at the plaintiff and were "sporadic, no more      of CHR. Prout identifies several men who she
than one per month, ... were used in reference to          believes viewed pornographic pictures either on the
customers, competitors, or other employees ... [and]       internet or through email: Jack Walrath, Willie
were merely overheard by [plaintiff]"). Viewing the        Edwards, Louie (last name unknown), Manuel
totality of the circumstances, the discrete conduct        Martinez, Jorge Delgado, Chris Jensen, Jason
involved here was interspersed over Nelson's four-         Cameron, and Bart Erwin.
year tenure at CHR and was not severe, physically
threatening or humiliating. See Harris, 510 U.S. at        Third, Prout contends that her Portland co-workers

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engaged in offensive conversations consisting of           that women were the "primary target of such
derogatory jokes and vulgar language directed at a         harassment." See Duncan, 300 F.3d at 933- 934;
variety of different racial and ethnic groups. For         Beard, 288 F.3d at 798; see also Hocevar v. Purdue
example, Prout contends that her co-workers would          Fredrick Co. ., 223 F.3d 721, 737 (8th Cir.2000)
often use xenophobic epithets such as "towel-head"         (citing Kriss v. Sprint Communications Co., 58 F.2d
and "spic." (Prout Tr. at 191.) She also contends that     1276, 1281 (8th Cir.1995) for the proposition that use
there was prolific swearing, but concedes that             of the word "bitch" without additional evidence of
occasionally, she too swore.                               gender discrimination does not satisfy the "based on
                                                           sex" requirement). With regard to Jensen's conduct,
 Finally, Prout alleges that there were personal           Prout again does not address this argument.
conflicts in Portland between her and her immediate        According to Prout, Jensen's retention of the most
supervisor, Jensen, as well as between her and             lucrative accounts for himself just happened to be at
Ortman. With regard to Jensen, Prout felt that he          her expense because he was doing it solely for self-
micro-managed her and that he misused his                  promotion. Accordingly, no reasonable fact finder
management position to advance his career. Prout           could conclude that Prout's difficulties with Jensen
testified, however, that she thought Jensen's actions      were based on sex. For the reasons stated above, a
to get ahead just happened to be at her expense. (Id.      reasonable fact finder could conclude that exposure
at 191.) With regard to Ortman, Prout contends that        to porn could constitute harassment "based on sex."
he did not like her. In particular, Prout claims that      The Court therefore turns to the fourth element. See
Ortman did not implement her suggestions on                Duncan, 300 F.3d at 934 (proceeding to fourth
business expansion. Prout first suggested that the         element where some, but not all, alleged harassment
Portland branch begin selling refrigerated freight,        was "based on sex").
which, although it involves greater risks to the
company, Prout was skilled at selling (from her             b. Harassment alters a term or condition of
experience in Yakima). Prout also suggested adding         employment
an international line to the branch. According to
Prout, Ortman's refusals to adopt her suggestions           First, the Court turns to whether Prout subjectively
were based on Prout's gender because Ortman had            perceived the alleged conduct to be harassment. See
previously implemented a business suggestion made          Harris, 510 U.S. at 21-22. Assuming that Prout's
by a male co-worker. Finally, Prout claims that            experiences from two distinct branches should be
Ortman denied her request for a car allowance, which       aggregated, and viewing the facts in the light most
she believes she was due to receive eighteen months        favorable to her, the record reveals that she
after hire.                                                subjectively perceived the alleged harassment to be
                                                           so severe or pervasive as to alter a term or condition
 *24 CHR contends that it is entitled to summary           of her employment.
judgment because Prout's alleged harassment was
neither based on sex, nor so severe and pervasive as        The Court next considers whether that subjective
to alter a term or condition of employment. The            perception is objectively reasonable. See id. Here,
Court considers each in turn.                              Prout saw co-workers viewing and discussing
                                                           pornography, she received and deleted at least one
a. Harassment based on sex                                 explicit email, and she had disagreements with
                                                           Ortman. Viewing the totality of the circumstances,
 CHR asserts that Prout's alleged harassment does not      these few incidents spread over two years were not
constitute conduct based on sex. In particular, CHR        frequent. See Harris, 510 U.S. at 23; Bainbridge, 378
contends that Prout's co-workers' general use of the       F.3d at 760. Moreover, the conduct involved here
word "rape," Jensen's behavior, and the exposure to        was not severe, physically threatening or humiliating,
pornography do not constitute harassment "based on         and there is no evidence in the record that it
sex." Although Prout testified that she was offended       unreasonably interfered with Prout's work. See
by her co-workers' use of the word "rape," she does        Harris, 510 U.S. at 23. Accordingly the Court
not respond to CHR's argument in this regard. In her       concludes that Prout fails to demonstrate a sexually
deposition, Prout concedes that the term was never         hostile environment sufficiently severe or pervasive
directed at her, and was only used in "a business          so as to alter the conditions of her employment. See
sense." Without more, a reasonable fact finder could       Meritor, 477 U.S. at 67; Duncan, 300 F.3d at 935.
not conclude that Prout's co-workers' use of this term     Because the conduct does not rise to the level
resulted in one gender being treated differently, or       necessary to be actionable, the Court grants CHR's

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motion for summary judgment on Prout's sexual              also called the anonymous hotline to lodge a
harassment claim.                                          complaint. Several events took place as a result of the
                                                           two complaints: (1) CHR required everyone in the
4. Cathy Perkey                                            branch's International department to re-sign CHR's
                                                           sexual harassment policy and internet policy and
 *25 Perkey began her employment with CHR in               attend sexual harassment training; (2) within six
September 1999 in the Minneapolis International            weeks, outside counsel was hired to conduct an
branch. She was employed as an import clerk until          investigation; (3) CHR's CEO Sid Verdoorn, sent an
her termination in June 2004. As an import clerk, her      email addressing the situation to all CHR employees;
responsibilities included billing, customer service and    (4) CHR reprimanded several employees--both men
preparation of paperwork necessary for international       and women; and (5) CHR suspended the branch
goods to clear United States Customs as well as            manager without pay for one month and required him
doing some billing, customer service, and securing         to attend diversity training.
trucks to move freight.
                                                            Perkey also testified that her immediate supervisor
 From some point after she started in 1999 until           Julie Bergquist, singled her out by tracking Perkey's
February 2001, Perkey alleges that she was subjected       arrival and departure times. According to Perkey,
to sexual harassment that was both severe and              Bergquist had been doing this since May 2000.
pervasive. Perkey bases her sexual harassment claim        Perkey testified that she considers it a hostile work
primarily on five incidents. First, in December 1999,      environment to be monitored in this way, but makes
she recalls Jeff Enger and Troy Bachman, two male          no claim that Bergquist singled her out because of her
co-workers, viewing a picture of a naked woman.            sex. Perkey also alleges that Bergquist discriminated
Perkey overheard Enger say that his wife had sent it       against her by changing her work hours. Perkey
to him. Second, in December 2000, Enger displayed a        admits, however, that because she was only working
holiday card on his file cabinet that Perkey found         a seven-and-one-half-hour day, the change in her
offensive. The card, which was given to Enger in the       work hours simply brought her in line with the other
branch's Secret Santa exchange, depicted a large           who employees worked an eight-hour day. Bergquist
naked woman and had the phrase "Takes a whole lot          told her that this change was in part to be fair to
of woman to please a man," written on the front.           everyone and in part to give Perkey more time to get
(Perkey Tr. at 92.) Perkey saw the card once,              her work done. At some point after Perkey filed her
although she believes that it was left out for a week.     February 2001 complaint, she also notes an instance
Third, Perkey alleges that her female co-workers           where Bergquist emailed a co-worker regarding
engaged in offensive conversations regarding their         Perkey's hours and accidentally sent it to Perkey as
sex lives and other sexual topics. Fourth, Perkey          well. Perkey complained to Gordon Anderson, her
received an email joke with a naked man and a snow         manager, that she thought this was inappropriate. He
blower that she found offensive. Finally, on February      said he would talk to Bergquist and asked that Perkey
23, 2001, Perkey witnessed Enger, Bachman, Jesus           keep it between them. Perkey inferred that he was
Caldaza, and Joe Hauer viewing a picture displayed         asking her not to take the complaint to CHR
on Enger's computer that depicted a woman bent over        management.
with her genitalia exposed. Perkey was shocked and
offended. She used CHR's anonymous toll-free                *26 CHR argues inter alia that it is entitled to
telephone number to register a complaint against           summary judgment because Perkey cannot
Enger for sexual harassment and CHR policy                 demonstrate that her alleged harassment was so
violations. Since her complaint, Perkey attests that       severe or pervasive as to alter a term or condition of
the only pornography she has seen in the office has        her employment, nor can she demonstrate that CHR
been on the computer of co-Plaintiff Gwen Carlson.         did not provide prompt remedial action upon Perkey's
[FN16]                                                     complaint. First, the Court looks to whether Perkey
                                                           subjectively perceived the alleged conduct to be
         FN16. Perkey testified that Carlson was           harassment. See Harris, 510 U.S. at 21-22. Viewing
         showing her how, despite CHR's firewall           the facts in the light most favorable to Perkey, the
         software to block out pornographic websites       record reveals that she subjectively perceived the
         and spam, Carlson could still receive or          alleged harassment to be so severe or pervasive as to
         access pornography. (Perkey Tr. at 182-84.)       alter a term or condition of her employment.

Shortly after Perkey's anonymous complaint, Carlson        The Court next turns to whether her subjective

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perception was objectively reasonable. See id. Here,
Perkey saw several images of naked women,                   *27 Second, she recalls that Jeff McDonald made
overheard some inappropriate conversations, and            frequent comments about her clothes and how she
received one offensive email. Other than the email,        looked. Third, during a nighttime campfire at a
none of Perkey's alleged harassment was directed to        weekend retreat for the branch, Eric Gebuhr, a male
her. See Bainbridge, 378 F.3d at 760. Viewing the          co-worker, slapped her hip and buttock and stated,
totality of the circumstances, the conduct involved        "Why are you playing hard to get?" Roberts contends
here was spread over an eighteen-month period and          that she and Gebuhr had not previously had a
cannot be considered frequent, nor was it severe,          flirtatious relationship, and that he had consumed a
physically threatening or humiliating. See Harris,         lot of alcoholic beverages that evening. Indeed,
510 U.S. at 23. Moreover, there is no evidence in the      Roberts claims that she awoke later that night to find
record that it unreasonably interfered with Perkey's       Gebuhr passed out in the women's cabin on an extra
work. See id. Accordingly, the Court concludes that        bed. (Roberts Tr. at 90-97.)
the conduct involved was unprofessional, but that
Perkey fails to demonstrate a sexually hostile              Finally, at some point during the summertime,
environment sufficiently severe or pervasive so as to      Roberts was talking to Ed Celler, a co-worker, and
alter the conditions of her employment. See Meritor,       she noticed that he was not looking at her face.
477 U.S. at 67; Duncan, 300 F.3d at 935. Because the       Roberts asked him, "Ed, are you looking at my
conduct does not rise to the level necessary to be         breasts?" He replied: "Well they are right there. What
actionable, the Court grants CHR's motion for              am I supposed to do?" (Id. at 103.)
summary judgment on Perkey's sexual harassment
claim.                                                      CHR contends inter alia that it is entitled to
                                                           summary judgment because Roberts cannot
5. Angela Roberts (n/k/a Angela Jackson)                   demonstrate that her alleged harassment affected a
                                                           term or condition of her employment. First, the Court
 From September 1999 until her termination for             looks to whether Roberts subjectively perceived the
habitual tardiness in April 2001, Angela Roberts           alleged conduct to be harassment. See Harris, 510
worked for CHR in its Chicago North branch as a            U.S. at 21-22. Viewing the facts in the light most
transportation sales representative. During her tenure,    favorable to Roberts, the record reveals that she
Gene Scheisser was the Chicago North branch                subjectively perceived the alleged harassment to be
manager.                                                   so severe or pervasive as to alter a term or condition
                                                           of her employment.
 Roberts contends that she was subjected to severe
and pervasive sexual harassment in two forms: (1)           The Court next turns to whether her subjective
generally offensive behavior by male co-workers;           perception was objectively reasonable. See id. Here,
and (2) specific instances of harassment directed at       Roberts alleges generally that she saw pornography
her. As to the former, Roberts alleges that male co-       in the office and overheard inappropriate comments,
workers asked questions of a personal nature to her        and specifically that she was harassed based on
female co-workers such as, "What did you do over           McDonald's comments about her attire, Gehbur's
the weekend?" and "Who are you dating?" Roberts            inappropriate behavior at the retreat, and Celler's
also testified that she witnessed co-workers viewing       staring at her breasts. Viewing the totality of the
pornography. Roberts further recalls that male co-         circumstances, the alleged harassment was sporadic
workers threw a foam football around the office.           and spread over Roberts' nineteen-month tenure at
                                                           CHR. See Harris, 510 U.S. at 23. Although there was
 With regard to harassing behavior directed at her,        physical conduct and Celler's comment was
Roberts contends first that she received offensive         undoubtedly embarrassing, there is no evidence in the
emails. She identifies three specific instances: (1) an    record that the alleged harassment unreasonably
image of a girl doing the limbo with her genitalia         interfered with Roberts' work. See id. Given previous
showing; (2) an image of a girl at a party with her        decisions of the Eighth Circuit, the Court concludes
breasts displayed; and (3) an internet link to a gay       that she has failed to show that these occurrences in
pornography website. Roberts complained to                 the aggregate were so severe and extreme that a
Scheisser and forwarded the emails to him.                 reasonable person would find that the terms or
According to Roberts, Scheisser responded by               conditions of her employment had been altered. See,
sending out a branch-wide email stating the email          e.g., LeGrand, 394 F.3d at 1102-03 (holding that
system is to be used only for work-related business.       several incidents over a nine month period did not

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constitute severe and pervasive harassment where
conduct included: (1) defendant's request for plaintiff     Third, when Porter came back from maternity leave
to watch pornographic movies with him and "to jerk         in 1999, she expected to resume work on an
off with him" to relieve stress; (2) defendant's           important account that she had been "growing"
suggestion that plaintiff would advance in the             before she left. During her absence, Scheisser had
company if he watched pornographic movies and              assigned the account to a male co-worker. Upon her
"jerked [defendant's] dick off"; (3) defendant kissed      return, Scheisser questioned whether Porter could
plaintiff on the mouth while grabbing his buttocks;        handle the responsibility because they were just
and then reached for plaintiff's genitals; and (4)         getting ready to expand it to a national account. After
defendant gripped plaintiff's thigh while both were        Porter protested, Scheisser allowed her to resume
seated at a table during a meeting). Although the          responsibility over the account. Thereafter, Porter
conduct     involved    was     unprofessional     and     contends that Scheisser attempted to diminish her
inappropriate, the Court concludes that that Roberts       success with the account and the client.
fails to demonstrate a sexually hostile environment
sufficiently severe or pervasive so as to alter the         Fourth, Porter describes an incident where Scheisser
conditions of her employment. See Meritor, 477 U.S.        stood up on his desk and yelled to the entire office
at 67; Duncan, 300 F.3d at 935. Because the conduct        that he was "tired of people taking craps on his time."
does not rise to the level necessary to be actionable,     (Porter Tr. at 190.) He went on to say that people
the Court grants CHR's motion for summary                  should not spend so much time in the bathroom and
judgment on Roberts' sexual harassment claim.              that employees should "take craps on personal time
                                                           not his." (Id .) A few days later, Scheisser sent a
6. Tricia Porter                                           follow-up email that stated: "I want to make a policy
                                                           adjustment to using the bathroom for the second
 *28 Tricia Porter works as a transportation sales         purpose. Please try to avoid mornings, but if you
representative in the Los Angeles branch. She began        have to go ahead, I wouldn't want anyone to injure
her employment with CHR in March 1997 at the               themselves." (Id. at 191-92.)
Chicago North branch. For her first year, Jeff Begin
was Chicago North's branch manager. Gene Scheisser          Finally, Porter alleges that male co-workers
replaced Begin in 1998. According to Porter, she           frequently clustered around certain computers,
transferred to the Los Angeles branch in April 2000,       laughing and joking. Porter assumes that they were
to escape personal conflicts between her and               viewing pornography and recalls seeing at least one
Scheisser. Porter alleges that she was subjected to        offensive image. [FN18]
severe and pervasive sexual harassment in Chicago
and Los Angeles.                                                    FN18. Porter specifically recalls two explicit
                                                                    images, but cannot remember which image
 Turning to her time in Chicago, Porter identifies four             she viewed in which branch--either Chicago
specific occasions and makes general allegations                    North or Los Angeles. She describes one
regarding the existence of an inappropriate work                    image depicting the Flintstones cartoon
environment. First, she alleges that, during Begin's                characters engaging in sexual acts, and
management, Begin remarked that he had taken a                      another image showing a man trying to
support employee on a sales call because she was                    penetrate an elephant.
attractive. Second, in 1998, believing that she needed
his approval, Porter asked Scheisser to allow her to        Turning to the Los Angeles office, Porter contends
apply for an assistant branch manager position in a        that the environment there was an improvement over
newly opened Birmingham office, and he refused.            Chicago, but that she continued to be subjected to a
Scheisser allegedly stated that he knew the                hostile work environment. In particular, Porter
Birmingham branch manager and that the two of              alleges that co-workers engaged in inappropriate
them would not get along. Porter contends that             conversations in the form of sexually offensive jokes.
because Scheisser had only recently come to the            Porter recalls one joke in particular: "What's the
Chicago North branch and did not know Porter well,         difference between a wife and a mistress? ... Forty
his refusal was based on her gender and race. [FN17]       pounds." She contends that her co-worker, Brian
                                                           Jackson, had a "fart man"--a three-dimensional figure
         FN17. Any claims Porter may have                  that when pressed, bends forward and his pants drop
         regarding race discrimination are not before      down. Porter contends that the area around Jackson's
         the Court.                                        desk was known as the "fart zone" and that male co-

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workers routinely passed gas in that area. As in            offered to allow him to wait in his office. Porter
Chicago North, Porter noticed on one or two                 alleges that Nystie's public comment only
occasions male co-workers huddled around a                  perpetuated the sexual harassment.
computer, and she assumes that they were viewing
pornography. With regard to emails, Porter reports           With respect to Porter, CHR contends inter alia that
that her male co-workers frequently laughed in              it is entitled to summary judgment because she
unison or called out to each other when sending each        cannot demonstrate that her alleged harassment
other emails. Porter remembers receiving one                affected a term or condition of her employment. First,
offensive email. She immediately deleted the email          the Court turns to whether Porter subjectively
and does not know who sent it to her. In addition,          perceived the alleged conduct to be harassment. See
Porter recalls that Eric Foe hung a picture of a girl in    Harris, 510 U.S. at 21-22. Assuming that Porter's
a bikini. When a co-worker asked him to take the            experiences from two distinct branches should be
picture down, he did.                                       aggregated, and viewing the facts in the light most
                                                            favorable to her, the record reveals that she
 *29 Porter also testified that she frequently had          subjectively perceived the alleged harassment to be
disagreements      with     her   co-worker,  Cesar         so severe or pervasive as to alter a term or condition
Bustamente. According to Porter, Bustamante was             of her employment.
rude and condescending, particularly to women.
Further, while she cannot recall the details or the          The Court next turns to whether her subjective
timing, Porter testified that she spoke with Nystie         perception was objectively reasonable. See id. Here,
about her difficulties with Bustamante.                     Porter's alleged harassment consists of her personal
                                                            conflicts with Scheisser and Bustamante, her
 In addition, Porter complained twice to Nystie about       problems with certain carriers, two viewings of
harassment from carriers she contacted to move loads        pornography, one explicit email, and general
for her customers. According to Porter, the carriers        offensive conduct of her co-workers. However, this
propositioned her and asked her inappropriate               conduct, spread over five years, amounts to sporadic
questions. Porter testified that these comments came        instances of offensive behavior and ordinary
from the group of carriers she contacts when her            tribulations in the work place. Cf. Faragher, 524 U.S.
regular carriers are unavailable. On the first occasion,    at 778 (noting that Title VII is not meant to redress
the carrier asked Porter her blouse size. She reported      "the ordinary tribulations of the workplace, such as
to Nystie who told her he would handle it. (Id. at 33-      the sporadic use of abusive language, gender related
34.) On a second occasion, another carrier made             jokes and occasional teasing"). Viewing the totality
offensive remarks to Porter, after which Nystie sent a      of the circumstances, the Court concludes that the
letter to the carrier. [FN19] (Id. at 42.)                  alleged harassment does not demonstrate that Porter's
                                                            workplace was "permeated with discriminatory
         FN19. The Court need not decide here the           intimidation, ridicule and insult." Harris, 510 U.S. at
         issue of CHR's liability, if any, with respect     21. Indeed, the Eighth Circuit has found conduct as
         to carriers who are not CHR employees. The         frequent and intrusive as Porter's insufficient to reach
         Court assumes, for purposes of this motion         this standard. See Duncan, 300 F.3d at 934-35;
         only, that Porter's allegations regarding her      LeGrand, 394 F.3d at 1102-03. While some of the
         carriers' comments contribute to her claims        conduct involved here was markedly unprofessional,
         of harassing conduct.                              there is no evidence in the record that it unreasonably
                                                            interfered with Porter's work. See Harris, 510 U.S. at
 Porter also contends that since the onset of this          23. Accordingly, the Court concludes that Porter fails
litigation, she has again been subjected to hostility       to demonstrate a sexually hostile environment
from Scheisser. In 2002, Scheisser went to Los              sufficiently severe or pervasive so as to alter the
Angeles for a business appointment and, while               conditions of her employment. See Meritor, 477 U.S.
waiting to leave, he sat in the pod next to Porter and      at 67; Duncan, 300 F.3d at 935. Because the conduct
stared at her. When Nystie realized what was going          does not rise to the level necessary to be actionable,
on, Porter claims that he made a public comment to          the Court grants CHR's motion for summary
the effect that Scheisser should be careful not to do       judgment on Porter's sexual harassment claim.
anything inappropriate or sexually harassing. Porter
took this as a personal attack on her participation in      7. Debra Kinniry née Cash
this lawsuit. Nystie later came to her and told her that
he had scolded Scheisser for his behavior and had           *30 Debra Kinniry began work at CHR on

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December 15, 2000. She was employed as a sales             the norm. It was not--It was something you just, you
representative for e-Stop, a subset of CHR's T-Chek        got used to dismissing." (Id. at 84.) Kinniry also
line. The e-Stop business sells information collected      recalls two male co-workers gathered around a
by T-Chek regarding fuel services. Her direct              computer and she assumed that they were viewing
supervisor was Mark Derks. Kinniry resigned on             pornography.
December 31, 2001.
                                                            Finally, Kinniry contends that she felt unwelcome by
 Kinniry alleges that she was subjected to severe and      her male co-workers. In particular, Kinniry describes
pervasive harassment by her co-worker, Tom Berry,          a CHR golf tournament to which she received a last-
and by Derks. With regard to Berry, Kinniry                minute invitation. After a few holes, Kinniry asked
forwarded to him the resume of a male friend.              why she was the only woman. Derks replied that
Shortly thereafter, she inquired into whether he           Singh had asked that she be invited so that it would
received it and Berry asked if the resume belonged to      not be an all-male event. Kinniry felt uncomfortable
one of her boyfriends. Kinniry felt as though Berry        thinking that her male colleagues did not want her
was implying that she was promiscuous. Kinniry             there.
complained to Derks, who asked her if she wanted to
document the situation. She declined. Kinniry states        *31 CHR contends inter alia that it is entitled to
that she was afraid of retaliation and did not want to     summary judgment because Kinniry's alleged
jeopardize her job. Nonetheless, Derks documented          harassment was not so severe or pervasive as to alter
the incident with J.J. Singh, the president of T-Chek.     a term or condition of employment. First, the Court
Singh contacted Kinniry to confirm that she did not        looks to whether Kinniry subjectively perceived the
want to document the conduct.                              alleged conduct to be harassment. See Harris, 510
                                                           U.S. at 21-22. Viewing the facts in the light most
 With regard to Derks, Kinniry alleges that he made        favorable to Kinniry, the record reveals that she
several inappropriate comments to her. First, when         subjectively perceived the alleged harassment to be
Kinniry was picking her teeth with her finger, Derks       so severe or pervasive as to alter a term or condition
said, "Stop sucking on your finger, it's making me         of her employment.
horny." (Kinniry Tr. at 92.) Next, as Derks and
Kinniry were preparing for her review, Derks said           The Court next turns to whether her subjective
something to the effect that they could conduct the        perception was objectively reasonable. See id. Here, a
review under his desk. In addition, after she tendered     reasonable person could not conclude that Kinniry
her resignation, Derks stated "Now that you are            was subjected to harassment so severe or pervasive as
leaving, I can tell you that I always wanted to have       to alter a term or condition of employment. Viewing
sex with you." (Id.) Kinniry admits to having a            the totality of the circumstances, the alleged
flirtatious encounter with Derks when the two were         harassment was sporadic. Berry's comment, Derks'
traveling in Florida on business, but contends that        comments, and her feeling of being unwelcome at the
there was no sexual contact. Kinniry also contends         golf tournament do not demonstrate that Kinniry's
that Derks inappropriately shared his opinion of a co-     work place was "permeated with discriminatory
worker, Nettie Helquist, with her. According to            intimidation, ridicule and insult." Id. at 21. Moreover,
Kinniry, Derks told her that Helquist was a                the Eighth Circuit has found conduct more intrusive
troublemaker. Finally, when Kinniry asked Derks            than Kinniry's insufficient to reach this demanding
why her male co-worker Nate Wanamaker received a           standard. See, e.g., LeGrand, 394 F.3d at 1102-03.
temporary position in card sales, a position Kinniry       None of the conduct involved here was severe,
wanted, Derks allegedly stated that Wanamaker was          physically threatening or humiliating, and there is no
the typical CHR recruit--male and in his twenties.         evidence in the record that it unreasonably interfered
                                                           with Kinniry's work. See Harris, 510 U.S. at 23.
 Kinniry also contends that she periodically received      Accordingly, the Court concludes that Kinniry fails
offensive emails. She could not remember from              to demonstrate a sexually hostile environment
whom, testifying: "I never really paid attention. They     sufficiently severe or pervasive so as to alter the
went around frequently, they came around the               conditions of her employment. See Meritor, 477 U.S.
company frequently and I didn't pay attention to who       at 67; Duncan, 300 F.3d at 935. Because the conduct
they were from, they were just deleted." (Id. at 82.)      does not rise to the level necessary to be actionable,
When asked if she found it offensive, Kinniry              the Court grants CHR's motion for summary
testified "I think anyone would find it offensive to       judgment on Kinniry's sexual harassment claim.
some degree, but it went on so frequently that it was

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8. Carol Flannigan                                         viewing offensive images and would not have
                                                           tolerated it had he seen it. Nonetheless, she did not
 Carol Flannigan was employed at CHR's New                 report her experiences to him. In addition, Flannigan
Orleans branch from August 1999 until her                  claims she did not report the pornography through
termination in May 2001. She started in support and        CHR's other channels because she was afraid of
accepted a promotion in July 2000 to produce sales.        retaliation. She bases this fear upon her contention
From July to September 2000, Flannigan assisted the        that after Brevelle reported an affair between
produce manager, Eric Waitzman. In September               Anderson and Robin Brantley to CHR management,
2000, Waitzman took an unexpected leave of                 Anderson treated Brevelle poorly and ignored her.
absence, and Flannigan began to work independently
in produce sales. In January 2001, the branch               Flannigan also alleges that co-workers engaged in
manager, Duane Leier, retired and he was not               inappropriate conduct at a sales conference in Dallas,
replaced. Instead, Kevin Meguire, the regional             Texas, by drinking alcohol and wrestling at a
produce manager, assumed the New Orleans branch's          poolside barbeque. In addition, she asserts that the
produce managerial duties.                                 Anderson/Brantley affair interfered with her ability to
                                                           work because co-workers frequently engaged in
 Flannigan asserts that she was subjected to a hostile     conversations and speculation regarding the affair.
work environment in the New Orleans branch based           Flannigan contends that the widespread gossip
on her co-workers' generally inappropriate conduct,        created a hostile environment. Flannigan further
conversations, and vulgar language, as well as             alleges that co-workers often used foul language
specific comments directed to her. With regard to          including the words "fuck," its derivations, and
general conduct, Flannigan contends that her male          "rape" (e.g., "that truck driver raped me on a load").
co-workers frequently viewed pornography on their          Flannigan concedes that both male and female co-
computers. In her first week of work, Flannigan            workers used foul language.
complained to her support supervisor, Barbara
Brevelle, that she had seen co-workers viewing              With regard to specific comments made to her,
pornography. Flannigan alleges that Brevelle told her      Flannigan alleges first that she was offended by her
that there was nothing that could be done about it.        co-workers calling her "Eric's secretary" after she
During her time in support, Flannigan estimates that       moved into produce sales. Second, Flannigan alleges
she saw pictures of naked women three times per            that Meguire made two offensive comments about
week on Waitzman's computer, a total of five times         her. Specifically, the first time she met Meguire
on Craig's (last name not known) computer, a total of      before he assumed Leier's duties in December 2000,
five to ten times on Donald Pecot's computer, and a        he took the produce sales employees out to dinner.
total of three to four times on Dan Anderson's             During dinner, he asked what each person did before
computer. She specifically remembers seeing a              coming to CHR. Flannigan brought up her work at a
pornographic slide show on Waitzman's computer.            veterinarian's office. Meguire asked if she had any
Also during her time in support, Flannigan recalls         pets and she responded that she had two dogs and
that Leier reprimanded several co-workers who had          four cats. Meguire then stated that he had eaten cat.
repeatedly accessed inappropriate websites. After          Flannigan believes that Meguire used the word "cat"
Leier left that day, the co-workers congratulated each     as a euphemism for a woman's vagina. On another
other on the number of hours each had logged.              occasion,     Flannigan     asserts    that    Meguire
Flannigan was offended by the co-workers' reaction.        intentionally humiliated her by asking her, in front of
Although her co-workers thereafter concealed it from       other colleagues, where she had gone to college.
Leier, Flannigan believes that they still viewed           According to Flannigan, Mequire knew that she had
pornography. After her move to produce sales, and          not gone to college. Also at that time, she alleges that
while working closely with Waitzman, Flannigan saw         Meguire made fun of her work at the veterinary
some explicit images on his screen. Flannigan told         clinic.
him that she did not want to see those kinds of
images and he closed his computer screen.                   CHR contends inter alia that it is entitled to
Thereafter, Flannigan did not see pornography on his       summary judgment on Flannigan's sexual harassment
or any other co-workers' computer. Nevertheless,           claim because she cannot demonstrate that Meguire's
Flannigan alleges that employees continued to view         comments were based on sex, or that the alleged
pornography.                                               harassment was severe or pervasive. The Court turns
                                                           first to whether the harassment was based on sex.
*32 Flannigan testified that Leier never engaged in

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a. Harassment based on sex                                  LeGrand, 394 F.3d at 1102-03. Viewing the totality
                                                            of the circumstances, her exposure to pornography
 CHR argues that Flannigan does not demonstrate             was frequent during her first several months, but
that Meguire's comments were based on sex.                  none of Flannigan's alleged harassment was severe,
Flannigan fails to respond to this argument. To be          physically threatening or humiliating, and did not
actionable, "the harassment must be based on the            unreasonably interfere with Flannigan's performance.
complaining person's sex." Scusa, 181 F.3d at 965.          See Harris, 510 U.S. at 23. Plainly, some of the
An offensive workplace atmosphere does not amount           conduct alleged was juvenile and unprofessional, but
to unlawful discrimination unless one gender is             Flannigan fails to demonstrate a sexually hostile
treated differently than the other." Duncan, 300 F.3d       environment sufficiently severe or pervasive so as to
at 933 (citing Oncale, 523 U.S. at 80). Viewing the         alter the conditions of her employment. See Meritor,
facts in the light most favorable to Flannigan, a           477 U.S. at 67; Duncan, 300 F.3d at 935. Because the
reasonable fact finder could conclude that Meguire's        conduct does not rise to the level necessary to be
comment regarding cats was "based on sex." The              actionable, the Court grants CHR's motion for
Court therefore denies CHR's argument with respect          summary judgment on Flannigan's sexual harassment
to this element.                                            claim.

 b. Harassment alters a term or condition of                9. Amy Hossenlopp
employment
                                                             Amy Hossenlopp works as a transportation sales
 *33 First, the Court looks to whether Flannigan            representative in CHR's Columbia, South Carolina,
subjectively perceived the alleged conduct to be            branch. She began working there on May 27, 1998.
harassment. See Harris, 510 U.S. at 21-22. Viewing          Until March 2004, Mike Borowiec was Hossenlopp's
the facts in the light most favorable to Flannigan, the     branch manager.
record reveals that she subjectively perceived the
alleged harassment to be so severe or pervasive as to        Hossenlopp contends that she has been subjected to
alter a term or condition of her employment.                sexual harassment that was severe and pervasive.
                                                            First, she alleges that the environment was "hostile"
 The Court next turns to whether her subjective             because her co-workers were combative with each
perception was objectively reasonable. See id. Here,        other. For example, Ken Clarkson and Bill Colvin
Flannigan alleges that she was subjected to                 engaged in a verbal altercation at work in 2001.
harassment based on her sex because of the office           Hossenlopp alleges that she was on the phone with a
gossip regarding Anderson's affair, the inappropriate       customer at the time and that their "threatening tones"
language, conduct and comments, the pornography,            and "vulgar language" made it difficult to concentrate
and Mequire's comments. Other than Mequire's                on what her customer was saying. Hossenlopp also
comments and being called "Eric's Secretary," none          describes a March 2002 incident when Clarkson,
of Flannigan's alleged harassment was directed at her.      Hossenlopp's "zone" leader, was verbally abusive to
See Bainbridge, 378 F.3d at 760. Moreover, a                her and her co-worker, Stephen Dowey, after they
reasonable person could not conclude that                   sacrificed a profit on a load to accomplish a delivery
Flannigan's not attending college, and Meguire's cat        that had gone awry. Even though Hossenlopp and
comment when coupled with Flannigan's other                 Dowey had cleared sacrificing the profit with
allegations constitute humiliating conduct sufficient       Borowiec, Clarkson belittled and yelled at them the
to satisfy the demanding standards set forth by the         next morning. Hossenlopp complained to Borowiec
Eighth Circuit. See e.g., Duncan, 300 F.3d at 934-35;       about Clarkson's behavior. Borowiec spoke with
Ottman v. City of Independence, 341 F.3d 751, 760           Clarkson on her behalf. Shortly thereafter, Clarkson
(8th Cir.2003) (holding that the district court erred in    emailed her that he was unhappy that she had gone to
denying summary judgment where supervisor had               Borowiec. According to Hossenlopp, Clarkson
belittled female employees' work product but not            continued to be verbally abusive to co-workers.
male employees' work; had spoken condescendingly            Hossenlopp also describes an unpleasant exchange
to plaintiff as if she were a child; had on two separate    with CHR's Iowa branch manager, Scott Shannon.
occasions made the comment, "It's just like a woman"        Shannon called her and her co-worker, Kevin
referring to two women who had disagreed with him;          Harthan, incompetent because a truck hired by
had occasionally referred to women as "girls"; had          Hossenlopp to transport an important load broke
declared "we need more men"; and sometimes told             down.
female workers to "be quiet, men are talking");

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 *34 Next, Hossenlopp contends that her co-workers          subjected to sexually explicit pictures and male co-
engaged in generally offensive conversations, and           workers viewing pornography during work hours.
that some inappropriate comments were directed at           Hossenlopp recalls Clarkson viewing pornography as
her specifically. With regard to the offensive              early as Winter 2000. She also remembers seeing a
comments, Hossenlopp alleges that William Speas,            "naked brunette" on Steve Smith's computer. Smith
referring to a female CHR recruiter, stated: "I guess       shut it off when he realized she was nearby. She also
that's how women in the company advance to the top.         witnessed      Clayton    Smallwood      viewing      a
They sleep their way up." (Hossenlopp Tr. at 153.)          pornographic video depicting a naked man being
As Speas was speaking, he made a thrusting motion           hung by restraints and being kicked in the groin by a
with his pelvis. Hossenlopp also alleges that she           female. The video had some "vile" sounds that went
overheard a conversation between Smallwood and              along with it. Hossenlopp told Smallwood "that was
Harthan regarding golf. At some point in the                not conducive." (Id. at 150.) Finally, she recalls that
conversation, Smallwood said, "Why don't you go             Clarkson and Neal Elgin gathered around Colvin's
with William Speas at lunch or go with so and so and        computer. They attempted to close the screen when
try and do something with anal beads." (Id. at 151.)        they realized she was approaching, but she saw part
Harthan looked at him and stated: "I don't know how         of a woman's breast before Colvin could close it
to respond to that." (Id.) Smallwood laughed and            completely. She did not report any of these incidents
said, "I don't even know why I said that." (Id.) Finally    at the time that they occurred.
Hossenlopp contends that vulgar language was used
in the branch, particularly the word "rape," (e.g., "he's    *35 Between 1998 and her deposition in August
raping me on this load"). Hossenlopp concedes that          2003, Hossenlopp recalls receiving 3 explicit emails:
she too cursed on occasion.                                 (1) in 1998, a co-worker from the Boston branch sent
                                                            her an email that covered her screen with a picture of
 Turning to comments directed at Hossenlopp, she            a naked woman that she could not readily delete from
recalls speaking with Borowiec in 2000 about                her computer; (2) a picture with a representation of
comments she had received from her co-workers               Osama Bin Laden naked, bent over with the Empire
regarding her attire. In particular, Bill Colvin            State Building inserted in his rear end; and (3) a
commented on her new clothes and, on another                cartoon joke that she did not understand and deleted
occasion, suggested that she must have a hot date that      immediately.
night because of her nail polish and make-up.
Hossenlopp next alleges that when she went on her            In the later part of 2001, Hossenlopp mentioned to
first sales call, Julian Montegue made a comment            Borowiec that she might have seen an inappropriate
about how she was going to "service the customer."          screensaver on someone's computer but that she was
(Id. at 147.) In addition, Hossenlopp describes an          not one hundred percent sure at that time. Hossenlopp
instance where Montegue brought in his leftover             told Borowiec that she did not want to "go pointing
birthday cake that was topped with candy in the             fingers at people without having the facts." (Id. at
shape of a woman's breasts. Hossenlopp testified:           53.)
   One of the guys came to my desk and told me I
   need to go into the kitchen because Julian had            During her March 2002 conversation with Borowiec
   brought in his birthday cake and I heard them            regarding Clarkson's behavior, Hossenlopp also told
   snickering behind my back when I went into the           Borowiec that she had seen things that she believed
   kitchen and when I lifted the lid on the cake and        were inappropriate. Specifically, Hossenlopp stated
   realized what it was I was very appalled and very        that she would hate for her mother or a customer to
   embarrassed at the same time and went back to my         see "that kind of stuff" in the office. (Id. at 59.)
   desk because everybody in the branch saw the cake        Borowiec agreed with her and said he would address
   because it was sitting in the breakfast room all day     the situation. During that conversation, Hossenlopp,
   long.                                                    however, did not disclose to Borowiec that she had
  (Id. at 150.) Hossenlopp also alleges that her co-        23 disks of pornography that she had downloaded
workers were throwing a foam ball around the room           from Julian Montegue's, Colvin's and Eric
and it hit Hossenlopp. She stood up and told them           Broderick's computers at the end of 2001. On March
"this was not Romper Room" and that they had to             20, 2002, Borowiec sent an email to all Columbia
stop. (Id. at 200.) They ceased and returned to their       employees reminding them of CHR's business and
desks.                                                      ethics policies, and instructing them to refresh their
                                                            understandings of the policies.
Third, Hossenlopp asserts that she has been

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 In September 2002, Hossenlopp spoke with Michelle          Cir.1997) (concluding that harassment was not based
Debben, a CHR HR employee, and complained about             on sex where supervisor "used vulgar, profane
the branch's environment. In particular, she                language, slammed things, stomped around, loudly
complained about Clarkson and Smallwood. As a               reprimanded employees and used intimidation" on
result, Tim Manning and Amy Taber conducted an              men and women alike). For the reasons previously
investigation at the Columbia branch on September           discussed, a reasonable fact finder could conclude
27 and 28, 2002. After the investigation, Borowiec          that exposure to porn could constitute harassment
brought each employee into his office to explain its        "based on sex." The Court therefore turns to the
outcome. Disciplinary action included Clarkson's            fourth element. See Duncan, 300 F.3d at 934
one-month suspension, after which he resigned, and          (proceeding to fourth element where some, but not
Smallwood's one-week suspension. Since that time,           all, alleged harassment was "based on sex").
Hossenlopp testified that she is not aware of any
sexually explicit emails or images, or sexually              b. Harassment alters a term or condition of
offensive conduct in he branch.                             employment

 CHR contends that it is entitled to summary                 First, the Court looks to whether Hossenlopp
judgment on Hossenlopp's hostile work environment           subjectively perceived this conduct to be harassment.
claim because she cannot meet her burden to                 See Harris, 510 U.S. at 21-22. Viewing the facts in
demonstrate that the harassment was based on sex,           the light most favorable to Hossenlopp, the record
that it was so severe or pervasive as to alter at term or   reveals that she subjectively perceived the alleged
condition of employment, or that CHR took did not           harassment to be so severe or pervasive as to alter a
take prompt remedial action.                                term or condition of her employment.

a. Harassment based on sex                                   The Court next turns to whether her subjective
                                                            perception was objectively reasonable. See id. Here,
 "Abusive behavior is not 'based on sex' if the             Hossenlopp puts forth two categories of behavior: (1)
harasser subjects both men and women to similar             general branch environment, which consists of co-
abuse." Hesse v. Avis Rent A Car Sys., Inc., Civ. No.       workers viewing pornographic images and offensive
02- 3653, 2004 WL 569563, at *5 (D.Minn.2004),              comments, vulgar language and conversations; and
aff'd, 394 F.3d 624 (8th Cir.2005). "Similarly, a           (2) conduct specific to Hossenlopp which consisted
supervisor's legitimate criticism of a female               of: comments regarding her attire, the incident with
employee's mistake--however harsh or insensitive--is        Montegue's birthday cake, Montegue's comment
not harassment based on sex if the supervisor would         about "servicing the client" on her first sales call, and
have reacted the same way to a male employee's              receipt of three offensive emails. Viewing the facts in
mistake." Id.                                               the light most favorable to Hossenlopp, the Court
                                                            concludes that she fails to demonstrate that her
 *36 CHR argues that Clarkson's behavior does not           workplace was "permeated with discriminatory
constitute harassment based on sex. Hossenlopp does         intimidation, ridicule and insult," such that it altered a
not respond this argument. At her deposition, she           term or condition of her employment. Id. at 21. In
testified that Clarkson subjected both her and her          particular, a minority of the alleged conduct was
male co-workers to verbal abuse and vulgar                  directed at Hossenlopp and it spanned over five
language. She gave similar testimony regarding              years. See Bainbridge, 378 F.3d at 760. Moreover,
Shannon's disparaging remarks. The record does not          while inappropriate and juvenile, the conduct was not
reveal any evidence that Clarkson referred to               severe, physically threatening or humiliating and did
Hossenlopp's gender or made sexual innuendoes.              not unreasonably interfere with her ability to do her
Accordingly, a reasonable fact finder could not             job. See Harris, 510 U.S. at 21. Given previous
conclude that Clarkson's behavior was based on sex.         decisions of the Eighth Circuit, see, e.g., Duncan,
See Schoffstall v. Henderson, 223 F.3d 818, 827 (8th        300 F.3d at 934-35; LeGrand, 394 F.3d at 1102-03,
Cir.2000) (finding that behavior that included              the Court concludes that Hossenlopp fails to
plaintiff's supervisor losing his temper, swearing at       demonstrate a sexually hostile environment
plaintiff, intimidating her, pounding on desks and on       sufficiently severe or pervasive so as to alter the
one occasion lunging across his desk at her, was not        conditions of her employment. See Meritor, 477 U.S.
based on sex where none of the conduct referenced           at 67; Duncan, 300 F.3d at 935. Because the conduct
her sex or contained sexual innuendo); Montandon v.         does not rise to the level necessary to be actionable,
Farmland Indus. Inc., 116 F.3d 355, 357-58 (8th             the Court concludes that Hossenlopp fails to meet her

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burden with respect to this element.                       warning regarding his or her own behavior.
                                                           Hossenlopp herself was warned regarding her use of
c. Employer's remedial action                              inappropriate language. Moreover, Clarkson resigned
                                                           permanently at the end of his one-month suspension,
 *37 Even assuming that Hossenlopp could                   and Hossenlopp testified that thereafter she did not
demonstrate that a reasonable person would consider        see explicit images or endure offensive comments. A
the harassment so severe or pervasive as to alter a        reasonable fact finder could only conclude that
term or condition of employment, Hossenlopp must           CHR's actions were significant and that, based on
also demonstrate that CHR knew or should have              Hossenlopp's testimony, the measures were largely
known of the conduct and failed to take proper             successful. Accordingly, the Court concludes that
remedial action. Meriwether, 326 F.3d at 993.              CHR took prompt remedial action reasonably
Appropriate remedial action must be "reasonably            calculated to end the harassment.
calculated to end the harassment once the employer
knew or should have known about the harassment."            *38 In sum, Hossenlopp fails to demonstrate that
Scusa, 181 F.3d at 967. Several factors are relevant in    Clarkson's behavior was harassment based on sex,
assessing the reasonableness of an employer's              that her alleged harassment affected a term or
remedial measures: "the temporal proximity between         condition of her employment and that CHR failed to
the notice and remedial action, the disciplinary or        take proper remedial action. The Court therefore
preventative measure taken and whether the measures        grants CHR's motion for summary judgment on
ended the harassment." Meriwether, 326 F.3d at 993.        Hossenlopp's claim for sexual harassment.

 Turning first to Hossenlopp's complaint to Borowiec       10. Jennifer Smyrl
in 2002, a reasonable fact finder could conclude that
Borowiec's email was reasonably calculated to               In August 1996, CHR hired Jennifer Smyrl as a
address Hossenlopp's complaints based on sexual            transportation sales representative in its Pleasanton,
harassment. Here, Hossenlopp did not tell Borowiec         California, branch. She worked there until December
about the 23 discs of pornography that she had             1999 when she requested a transfer within CHR to
collected. Instead, she stated that she had generally      Salt Lake City. In January 2000, Smyrl began
seen offensive images and that she would not want          working in the Salt Lake City branch as a
her mother or a client to see what she had seen.           transportation sales representative. She resigned in
Looking to the Meriwether factors, the temporal            June 2002. Smyrl's claims of sexual harassment relate
proximity between Hossenlopp's notice and Borowiec         only to her time in Salt Lake City and are based in
action was brief--apparently within a week--and the        large part on the behavior of branch manager, Chris
action taken was commensurate with Hossenlopp's            Czekai.
complaints.
                                                            Smyrl alleges that Czekai often made belittling
 Turning next to Hossenlopp's complaints to Debben,        comments to her such as: (1) what she did "anybody
a reasonable fact finder could only conclude that          could do" and that "it wasn't worth anything"; (2) that
CHR's actions were reasonably calculated to end the        he "didn't know why [she] was working. Why didn't
harassment. First, it was only a matter of weeks           [she] just stay at home and be a mom?"; (3) "Why did
before Taber and Manning came out to conduct an            you get pregnant if you wanted to continue to
investigation, and the disciplinary action came only       work?"; (4) "What were you thinking getting
days later. Cf. Smith, 109 F.3d at 1264 (denying           pregnant?"; and (5) "What customer is going to want
summary judgment where employer took four                  to see you fat?" (Smyrl Tr. at 116; Smryl Resp.
months to respond to the plaintiff's initial               Interrogs. at 20.) Smyrl asserts that during a difficult
complaints). Hossenlopp contends that CHR did not          period in Smyrl's pregnancy, Czekai refused to
do enough and that the actions taken by CHR amount         reduce her hours to a forty-hour workweek until she
to "inconsequential discipline." Pls.' Comb. Mem.          threatened to go to the labor board. Smyrl was then
Opp'n at 192. The Court disagrees. In fact, two            required to bring in a doctor's note regarding the
employees were suspended--Clarkson for one month           reduction in hours as well as notes for any additional
and Smallwood for one week, and every branch               visit to the doctor's office during her pregnancy.
employee received and was required to sign                 (Smyrl Tr. at 234.)
individualized notices acknowledging that the alleged
behavior was unacceptable. For many employees,              Smyrl also claims that Czekai's treatment of women
that notice included either a warning or a final           differed from his treatment of men with respect to

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tardiness and work schedules. She contends that
women were called into his office when they were             In March 2002, Smyrl used CHR's anonymous email
late, but men were not. In particular, Smyrl identifies     service to report Czekai's behavior and the
Jason Berquist as someone who received special              environment of the branch. In April 2002, CHR HR
treatment by Czekai. Smyrl also contends that Czekai        representatives Amy Taber and Tim Manning came
openly made belittling and offensive comments about         out to the Salt Lake City branch to investigate
other women in the branch. For example, Smyrl               complaints made about Czekai. They individually
overheard Czekai state that assistant branch manager        interviewed the branch employees. Smyrl contends
Stephanie Harrison dressed like a slut. With regard to      that she did not alert either Taber or Manning to
co-worker Candace Wickstrom, Czekai allegedly said          Smyrl's specific allegations of sexual harassment, but
"if you have a horse, work it for what it's worth." (Id.    generally described Czekai's behavior. Smyrl alleges
at 146.) Smyrl also contends that Czekai and other          that she feared retaliation if she disclosed everything
male co-workers considered Wickstrom unattractive           and that after Taber and Manning left, Czekai did in
and consequently, she was the topic of many                 fact retaliate. (Id. at 234.)
offensive jokes and comments. Smyrl reports hearing
a rumor that Czekai was "going to get rid of all of the      CHR contends that it is entitled to summary
women" in the branch and another rumor that he said         judgment on Smyrl's hostile work environment claim
"this bunch of bitches aren't going to get anywhere         because Czekai's conduct is not harassment based on
with me." (Id. at 212.) Finally, Smyrl asserts that she     sex and because Smyrl fails to demonstrate that the
was not allowed to play on the branch softball team         harassment was so severe or pervasive as to alter a
because Czekai did not allow women on the team.             term or condition of her employment. The Court
                                                            considers each in turn.
 In addition to Czekai's behavior and comments,
Smyrl also alleges that the Salt Lake City branch had       a. Harassment based on sex
an abusive and harassing environment to women. In
particular, she contends that there was prolific             Because Czekai's abuse indiscriminately reached
swearing--to the extent that she had to hide under her      both men and women, CHR contends that it was not
desk to avoid having her customers hear Kim Smith,          based on sex. The Court disagrees. Here, Czekai was
a male co-worker, swearing at the desk next to her.         physically and verbally abusive to both sexes.
She testified that when she complained to Czekai,           However, evidence in the record reveals that this
Smith's language improved for a week, and then he           behavior was coupled with comments and conduct
moved his desk over to the other side of the room and       that referenced gender or contained sexual innuendo.
resumed his previous manners. Smyrl elaborated that         Cf. Schoffstall, 223 F.3d at 827; Montandon, 116
she was not complaining about "reactive" swearing,          F.3d at 357-58. In particular, Czekai made comments
meaning a verbal response to something bad that just        regarding Harrison, Wickstrom, Smyrl and he
happened, but that the swearing was "proactive"             excluded women from the branch softball team. Even
swearing directed at co-workers or customers. For           if, when viewed in isolation, some of Czekai's
example, co-workers called each other "pussy" and           conduct cannot be described as based on sex, it is all
"you fucking idiot." (Id. at 228.)                          "part of a course of conduct which is tied to evidence
                                                            of discriminatory animus." Carter, 173 F.3d at 701.
 *39 Smyrl further contends that her male co-workers        Because a reasonable fact finder could conclude that
created a "fraternity" atmosphere and that she              Czekai's conduct was based on sex, the Court denies
witnessed them viewing pornography. She asserts             CHR's motion with respect to this element.
that the pornography consisted of explicit
photographs of nude women in various poses. Smyrl            b. Harassment alters a term or condition of
identified several images from Plaintiffs' Second           employment
Amended Complaint, namely the imitation
MasterCard Priceless advertisements, and a picture of        First, the Court looks to whether Smyrl subjectively
a woman's breasts. Smyrl alleges that Smith, John           perceived the alleged conduct to be harassment. See
Pearson, Mike Radcliff, Rodney Barton, Czekai,              Harris, 510 U.S. at 21-22. Viewing the facts in the
Chris O'Shea, Jason Tresnor and Berquist all                light most favorable to Smyrl, the record reveals that
forwarded pornographic emails to her. With regard to        she subjectively perceived the alleged harassment to
Barton, Smyrl requested that he stop sending her            be so severe or pervasive as to alter a term or
inappropriate emails. She alleges that he would stop        condition of her employment.
for a few weeks, and then resume sending them.

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 *40 The Court next turns to whether her subjective         Puckett called the Employee Assistance Program
perception was objectively reasonable. See id. Here,        (EAP) hotline to request help on how to deal with
viewing the facts in the light most favorable to            Czekai. As a result, EAP sent Puckett materials on
Smyrl, a reasonable person could conclude that her          stress management and how to deal with constructive
alleged harassment was so severe and pervasive so as        criticism. [FN20]
to alter a term or condition of employment. If Smyrl's
only complaints were based on Czekai's belittling and                FN20. EAP is a confidential service that is
chauvinistic behavior, the Court might conclude that                 not coordinated with the toll-free hotline
this was no more severe than the conduct at issue in                 used to report violations of CHR policies.
Ottman. In that case, the Eighth Circuit reversed the
district court's denial of summary judgment where the        After Czekai's promotion, Puckett's problems with
supervisor's behavior was belittling and sexist. See id.    him continued. Puckett contends that Czekai was a
at 760. In this case, however, Smyrl's allegations over     "stickler" for details, and that he tracked his
the course of two years include co-worker acceptance        employees' hours. On days when she would be out
of and participation in Czekai's antics. In particular,     sick, Puckett was required to call in twice during the
Smyrl's complaints include frequently demeaning             day to check-in. According to Puckett, only female
remarks       and    jokes    regarding    Wickstrom,       employees had to report in on their sick days. On one
pornography and crass "proactive" language.                 occasion, she was required to bring in an obituary
Accordingly, the Court concludes that a reasonable          when she left work to go to a funeral. Puckett also
fact finder could find that the conduct involved here       claims that Czekai would roll his eyes at her and
was sufficiently severe or pervasive so as to alter the     would mimic her by pursing his lips, and that he once
conditions of her employment and create a hostile or        said that women were too emotional. He also
abusive working environment. See Meritor, 477 U.S.          commented on her style of dress: "Do you think this
at 67. The Court therefore denies CHR's motion for          is high school LeeAnn? What is that you are wearing
summary judgment on Smyrl's sexual harassment               today?" (Id. at 160). Puckett testified that his
claim.                                                      comments made her feel self-conscious. Finally,
                                                            Puckett asked Czekai if there were any positions
11. LeeAnn Puckett                                          available in sales and he replied that sales positions
                                                            require a college degree, which Puckett did not have.
 In August 1999, Lee Ann Puckett was employed at
CHR's Salt Lake City branch through a temporary              *41 Puckett was also offended by Czekai's behavior
employment agency. At that time, the Salt Lake City         directed at others. Puckett alleges that Czekai spoke
branch dealt primarily with transportation sales, and       about her female co-workers in a demeaning manner.
Puckett's position was support for the sales                Specifically, he called Stephanie Harrison "white
employees. In December 1999, branch manager Scott           trash," "trailer trash," and a "whore" during a
Satterlee offered her a full-time position in sales         discussion with another male when Harrison was not
support, and she accepted. In October 2000, Satterlee       present. (Id. at 73.) In addition, Puckett heard a rumor
was promoted and replaced by Chris Czekai. Puckett          that Czekai had said that he was "going to get rid of
continued in her position under Czekai's management         all the women" in the office. Puckett also recalls an
until her resignation in August 2002.                       occasion when Czekai and others were playing
                                                            football in the office and Czekai teased Matt
 Puckett contends that she has been subjected to            Wagstaff because he was "throwing it like a girl." (Id.
sexual harassment based on Czekai's behavior and            at 72.) Czekai and others continued to tease Wagstaff
generally inappropriate conduct by co-workers. Prior        about his throwing. Puckett told Czekai that he
to Czekai's promotion to branch manager, he was the         shouldn't treat people that way. Additionally, Puckett
transportation sales manager and sat next to Puckett.       recalls an instance where Rodney Barton and Czekai
According to Puckett, Czekai did not like her.              had a fight. Although it was in Czekai's office,
Puckett testified: "He would shun me quite a bit. He        everyone could hear yelling and what sounded like
gave me the feeling--he acted like he was better than       furniture being thrown about. Barton later told
myself and other female employees in the office.... I       Puckett that Czekai had threatened to burn Barton's
never felt welcomed working for him or with him."           house down. Finally, Puckett alleges that she was
(Puckett Tr. at 67.) She further recalls seeing             fearful of Czekai because he would frequently walk
pornography on his computer. Specifically, Puckett          around with a golf club or hockey stick and swing it
recalls Czekai viewing an image of two naked                around his head during branch meetings.
women fondling each other. Around this time,

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 Puckett also alleges harassment not related to            subjectively perceived the alleged harassment to be
Czekai. In particular, she recalls seeing pornography      so severe or pervasive as to alter a term or condition
on co-workers' computers. For example, she asserts         of her employment.
that on her first day of work she saw a picture of
naked woman on Mike Radcliff's computer. In 2000,           The Court next turns to whether her subjective
she also witnessed: male co-workers gathering              perception was objectively reasonable. See id. Here,
around Johnny Pearson's computer; Kim Smith                Puckett puts forth Czekai's behavior directed at her
viewing a web site directed at gay pornography; and        and her co-workers. In particular, Puckett's
an image of two women "engaging with each other            complaints include his demeaning remarks, differing
and another man" on Jason Tresnor's computer. (Id.         treatment of male and female co-workers, viewing of
at 76-77.) Puckett contends that pornography was a         pornography, and use of offensive language and
frequent topic of conversation among her male co-          threatening conduct. Accordingly, a reasonable fact
workers and that they told offensive jokes. She also       finder could conclude that the conduct alleged was
alleges that Radcliff made inappropriate flirtatious       frequent, was physically threatening, and given her
comments to her. She admits to being flirtatious with      phone calls to EAP, interfered with her ability to do
Barton and having an intimate relationship with            her job. See Harris, 510 U.S. at 21-23 (listing factors
another co-worker.                                         and noting that the effect of the alleged harassment
                                                           on the employee's psychological well-being is one
 Puckett also asserts that she complained periodically     relevant factor). As such, a reasonable fact finder
to Harrison, the assistant branch manager, but that the    could also conclude that the conduct involved here
environment never improved. In March or April              was sufficiently severe or pervasive so as to alter the
2002, Puckett contends that she and others                 conditions of her employment and create a hostile or
complained to CHR management regarding Czekai's            abusive working environment. See Meritor, 477 U.S.
behavior. Shortly thereafter, Amy Taber and Tim            at 67. The Court therefore denies CHR's motion for
Manning from CHR HR visited the Salt Lake City             summary judgment on Puckett's sexual harassment
branch and individually interviewed employees              claim.
regarding Czekai's behavior. During her interview,
Puckett did not report to Taber any issues or              12. Gwen Carlson
instances relating to sexual harassment. Puckett
claims she did not report them because she feared           Carlson has worked for CHR since September 1996
retaliation. According to Puckett, after Taber and         and began working in sales in November 1998. In
Manning left, the Salt Lake City branch became quiet       October 1999, she and her branch manager, Jeff
and tense, and Czekai remained as manager. Several         Scovill, discussed that she needed to begin looking
months later, Puckett called Taber to ask about the        for different position because her job performance in
outcome of the investigation. Taber informed Puckett       sales was deficient. In February 2001, Carlson
that the investigation had been closed and that            assumed her current position as the Domestic
disciplinary action had been taken.                        Drayage Coordinator in the Minneapolis branch.
                                                           Since September 1996, she has had three branch
 *42 CHR contends that it is entitled to summary           managers: Diane Johnson, from 1996 to 1999;
judgment as to Puckett because she cannot                  Scovill, from 1999 to early 2003; and Matt Castle
demonstrate that Czekai's behavior was based on sex        from early 2003 to present.
or that the harassment was severe or pervasive. Here,
Puckett's allegations regarding Czekai are                  CHR contends inter alia that it is entitled to
substantially similar to those that the Court has          summary judgment on Carlson's sexual harassment
previously found to be based on sex. Because the           claim because Carlson cannot satisfy her burden to
Court has already concluded that a reasonable fact         show that the alleged harassment was so severe or
finder could conclude that Czekai's behavior was           pervasive as to alter a term or condition of her
based on sex, the Court turns to whether Puckett           employment. CHR also moves for summary
demonstrates that her alleged harassment was severe        judgment on Carlson's compensation and promotion
and pervasive.                                             claims for failure to exhaust administrative remedies.
                                                           The Court considers each in turn.
 First, the Court looks to whether Puckett subjectively
perceived this conduct to be harassment. See Harris,       a. Carlson's sexual harassment claim
510 U.S. at 21-22. Viewing the facts in the light most
favorable to Puckett, the record reveals that she          *43 Carlson contends that she has been subjected to

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sexual harassment based on events occurring between          Harms: "I will call you scrunch nuts then."
November 1998 and September 2001. She alleges               (Id. at A6.)
that her co-workers, both male and female, used foul
language, engaged in offensive conversations,               Next, Carlson alleges that offensive materials were
displayed inappropriate materials, and viewed              displayed in the office. First, a "Prayer for the
pornography on their work computers. Carlson also          Stressed" was posted in the sales area. The "prayer"
asserts that she received inappropriate emails and that    asked for "the courage to accept things I cannot
she experienced difficulties with Scovill. In support      change, the courage to change the things I cannot
of her claims, Carlson kept a diary from February          accept, and the wisdom to hide the bodies of the
1999 to April 2001, in which she detailed her daily        people I had killed today because they pissed me
life in the branch and wrote down co-workers'              off." It continued by asking for help remembering
conversations that she had overheard. In addition,         "when I am having a really bad day, and it seems that
Carlson surreptitiously downloaded examples of             people are trying to piss me off, that it takes 42
pornographic or offensive emails by accessing two of       muscles to frown and only 4 to extend my middle
her male co-workers' computers.                            finger and to tell them to bite me!" Second, in
                                                           December 2000, Carlson saw a card that was
 First, with regard to her claims regarding foul           displayed on Jeff Enger's file cabinet. The card,
language and conversations, the following examples         which was given to Enger as part of the branch's
are excerpts from Carlson's diary of conversations         Secret Santa gift exchange, depicted a large naked
that occurred during summer 2000. First, she wrote         woman and had the phrase "It takes a whole lotta
down a conversation between Brain Harms and Matt           man ... to satisfy a whole lotta woman" written on the
Castle:                                                    front. [FN21] (Id. at A17.) Carlson contends that the
   Harms: "Are you going out with me and Patrick           card was signed by Harms, "go for it stud." (Id.)
   tonight?                                                Carlson also found a number of other Secret Santa
   Castle: "I can't go out with you I need to get my       gifts offensive, including a Sports Illustrated
   dog from the vet. He had to have her [sic ] butt        swimsuit edition desktop calendar and a band-aid box
   shaved.                                                 labeled "bondage tape" with a roll of duct tape inside.
   Harms: "What? ? Have you been lubing him up
   and hitting him too hard? You gotta stop doing that              FN21. Both Perkey and Carlson remarked
   shit with your dog."                                             on the same card, but remember slightly
  (Carlson EEOC Charge at A5.) Carlson reports that                 different versions of what it said. The Court
at some point later, Harms stated to Scovill: "Hey                  describes it for each as they recall it.
Jeff, Matt has been fucking his dog so bad he had to
get his ass shaved so he can't join us for dinner."         *44 Carlson further alleges that her co-workers
                                                           viewed pornography on their computers. Around
 A second example occurred between Bonnie                  October 1999, she recalls seeing an image on Castle's
Buechele and Harms:                                        computer showing "a line-up of men on the beach in
  Buechele: "You fucking switched chairs with me           speedo swimsuits and women on their knees
  first you asshole."                                      performing oral sex on the men." (Id. at A2.)
  Harms: "Fuck you. I did not switch chairs."
 (Id.) Carlson provides a third example, consisting of      With regard to conduct directed toward her, Carlson
a conversation between Harms, Castle and Scovill           recalls receiving two offensive emails. Buechele sent
regarding their golf game:                                 the first email to her; it listed crayon colors such as
  Harms: "He is over here cocking off about how he         "Long John Silver," "Spousal abuse black and blue,"
  is going to beat me."                                    and "Spank me pink." Carlson asked Buechele not to
  Scovill: "Fuck him, ... I'll beat both your asses."      send her emails of that nature again. The second
  Harms: "He's been mouthing off since yesterday."         email came from an unknown source and it depicted
 (Id. at A6.) A final example is a conversation            a man crawling in the desert and a sign that said
between Heidi Halverson, Harms, Adam Hall, and             "water this way, half a mile" and another sign that
Scovill:                                                   said "women with big breasts, this direction, 22
  Halverson: "Did he call him pumpkin?"                    miles." (Carlson Tr. 154-55.)
  Scovill: "Me, no, he called him butt head."
  Hall: "I don't mind if he calls me pumpkin."             Carlson also asserts that she had personal difficulties
  Scovill: "Are you ready to do this?"                     with Scovill, and that their difficulties were two-fold.
  Hall: "Ok."                                              First, she contends that he allowed the allegedly

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hostile environment to exist, in part by his               alter a term or condition of employment. First, the
participation and in part by neglecting his                Court looks to whether Carlson subjectively
responsibilities as branch manager. In August 2000,        perceived her alleged conduct to be harassment. See
Carlson called Johnson, who at that time was               Harris, 510 U.S. at 21-22. Viewing the facts in the
managing CHR's Laredo branch, and reported that            light most favorable to Carlson, the record reveals
she suspected that Scovill was having an extra-            that she subjectively perceived the alleged
marital affair with a customer, that she was               harassment to be so severe or pervasive as to alter a
concerned about the branch's financial reliance on         term or condition of her employment.
one large account, and that she felt that there was
inappropriate behavior in the workplace. On August          The Court next turns to whether her subjective
28, Scovill confronted Carlson in his office and asked     perception was objectively reasonable. See id. Here,
if she had reported him to Joe Mulvehill, Scovill's        Carlson complains about the general branch
supervisor. She explained that she spoke with              environment, specifically that male and female co-
Johnson, who then spoke with Mulvehill.                    workers viewed pornographic images, engaged in
                                                           offensive conversations, and used vulgar language.
 Second, Carlson contends that Scovill impeded her         Although Carlson's diary describes the content in
progress in finding a job within CHR, and that he          detail, with the exception of two emails, none of the
retaliated against her for speaking to Johnson and for     conversations, language or pornography was directed
a later visit she made to Greg Goven, senior vice-         at her. See Bainbridge, 378 F.3d at 760. Viewing the
president of CHR, regarding Scovill. According to          facts in the light most favorable to Carlson, the Court
Carlson, Scovill retaliated by moving her desk,            concludes that she fails to demonstrate that her
excluding her from a group meeting, taking her off of      workplace was "permeated with discriminatory
the sales group email list and not giving her any new      intimidation, ridicule and insult." Harris, 510 U.S. at
work. [FN22] On October 24, 2000, Scovill and              21; see Faragher, 524 U.S. at 778 (noting that Title
Carlson discussed her complaints and "cleared the          VII is not meant to redress "the ordinary tribulations
air." Between November 2000 and January 2001,              of the workplace, such as the sporadic use of abusive
Carlson contends, however, that she continued to           language, gender related jokes and occasional
search unsuccessfully for a new position within CHR.       teasing"); LeGrand, 394 F.3d at 1101 (noting that
Her search ended in February 2001, when Scovill            conduct that is "merely rude or unpleasant" is not
presented her with the option of creating the position     sufficient to meet this standard). While the
of Domestic Drayage Coordinator.                           conversations and language occurred regularly, the
                                                           conduct in its totality was not severe, physically
        FN22. Carlson's retaliation claim is not part      threatening or humiliating and did not unreasonably
        of the litigation currently before the Court.      interfere with her ability to do her job. See Harris,
                                                           510 U.S. at 21. Accordingly, although the atmosphere
 On March 4, 2001, Carlson called CHR's toll-free          was sophomoric and crude, the Court concludes that
hotline and reported the existence of a hostile            Carlson fails to demonstrate a sexually hostile
environment at her branch. According to Carlson's          environment sufficiently severe or pervasive so as to
diary, she called the hotline after she perceived that     alter the conditions of her employment. See Meritor,
CHR was not responding to Perkey's February 23             477 U.S. at 67; Duncan, 300 F.3d at 935. Because the
complaint. (Carlson EEOC Charge at A20.) From              conduct does not rise to the level necessary to be
March to August, CHR took progressive remedial             actionable, the Court grants CHR's motion for
steps, including the suspension of Scovill. In part,       summary judgment on Carlson's sexual harassment
Scovill was suspended for his failure to attend to         claim.
Carlson's complaints. Since September 2001, Carlson
testified that she is not aware of co-workers viewing      b. Carlson's compensation and promotion claims
pornography or engaging in offensive conversations,
though she contends that she has received unsolicited       CHR contends that it is entitled to summary
pornographic "spam" emails from unknown sources            judgment on Carlson's compensation and promotion
outside of CHR.                                            claims because she has failed to exhaust her
                                                           administrative remedies. Title VII provides an
 *45 CHR contends that it is entitled to summary           administrative procedure through which a
judgment on Carlson's sexual harassment claim              complaining employee must proceed before filing a
because she cannot satisfy her burden to demonstrate       lawsuit in federal court. Williams v. Little Rock Mun.
that the harassment was so severe or pervasive as to       Water Works, 21 F.3d 218, 222 (8th Cir.1994) (citing

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Alexander v. Gardner-Denver Co., 415 U.S. 36, 47,
94 S.Ct. 1011, 39 L.Ed.2d 147 (1974)). To exhaust             An investigation by the EEOC ensued. As part of the
administrative remedies, an individual must: (1)             investigation, the EEOC solicited from CHR a reply
timely file a charge of discrimination with the EEOC         to Carlson's charge. In response, CHR submitted a
setting forth the facts and nature of the charge; and        multi-part letter denying any wrongdoing. By letter
(2) receive notice of the right to sue. 42 U.S.C. §          dated August 30, 2001, Counsel for Carlson
2000e-5(b), (c), (e). A plaintiff "may seek relief for       responded to CHR's letter as follows:
any discrimination that grows out of or is like or             Sexual Discrimination Charge: CHR's attorney
reasonably related to the substance of the allegations         does not even address the sexual discrimination
in the administrative charge." Nichols v. Am. Nat. Ins.        claim made and documented by Ms. Carlson.
Co., 154 F.3d 875, 886-87 (8th Cir.1998). In                   CHR's own records and statistics confirm that
determining whether an alleged discriminatory act              discrimination exists at CHR.... The sexually
falls within the scope of a Title VII claim, the               hostile work environment is a symptom of CHR's
administrative complaint must be construed liberally           sexual discrimination against women and
"in order not to frustrate the remedial purposes of            minorities. A review of the floppy disks and titles
Title VII." Cobb v. Stringer, 850 F.2d 356, 359 (8th           that the employees of CHR exchanged demonstrate
Cir.1988). However, "[a]llowing a complaint to                 an attitude of degradation of both women and
encompass allegations outside the ambit of the                 minorities.... The employees [listed in an attached
predicate EEOC charge would circumscribe the                   exhibit] will confirm sexual discrimination. A
EEOC's investigatory and conciliatory role, as well as         simple pay analysis will further confirm that sexual
deprive the charged party of notice of the charge, as          discrimination permeates CHR.
surely as would an initial failure to file a timely           (Emphasis in original). In March 2002, before the
EEOC charge." Williams, 21 F.3d at 223 (quotations           EEOC investigation concluded, Carlson withdrew her
omitted). "The breadth of the civil suit is, therefore,      charge to pursue her claims in federal court.
as broad as the scope of any investigation that
reasonably could have been expected to result from            The record reveals that Carlson marked sex
the initial charge of discrimination." Stuart v. Gen.        discrimination and mentioned pay disparities in the
Motors Corp., 217 F.3d 621, 630-31 (8th Cir.2000).           particulars of her EEOC charge, and that she marked
                                                             "refused promotion" on her intake questionnaire.
 *46 Here, the parties agree that Carlson filed a            Moreover, her counsel's subsequent letter to the
timely EEOC charge, that she exhausted her                   EEOC raised the issue of gender discrimination
administrative remedies with respect to her sexual           related to compensation. Although none of these
harassment claim, and that she received her notice of        documents is artfully crafted, an investigation into
right to sue from the EEOC. Accordingly, the issue           gender discrimination based on compensation and
before the Court here is whether her initial EEOC            promotion reasonably could have been expected to
charge encompasses her gender discrimination claims          result from Carlson's initial charge of discrimination.
for compensation and promotion.                              See Stuart, 217 F.3d at 630-31. The Court therefore
                                                             concludes that Carlson exhausted her administrative
 Carlson completed her charge of discrimination in           remedies with respect to her compensation and
June 2001. The face of Carlson's EEOC charge form            promotion claims. Accordingly, the Court denies
states: "CAUSE OF DISCRIMINATION BASED                       CHR's motion for summary judgment as to this issue.
ON (Check the appropriate box(es ))" and then
provides nine boxes, "RACE, COLOR, SEX,                      D. Constructive discharge
RELIGION, AGE, RETALIATION, NATIONAL
ORIGIN, DISABILITY, OTHER (specify )." Carlson                *47 CHR also moves for summary judgment on the
checked the "SEX" and "RETALIATION" boxes. In                constructive discharge claims of Debra Kinniry,
the particulars, she stated: "I really believe the hostile   Sandra Nelson, Andrea Prout, Jennifer Smyrl and
work environment is a symptom of sex                         Jessica Vetter. In response, Plaintiffs assert that
discrimination throughout the company (e.g., number          "none of the plaintiffs has asserted a separate count
of females in management, pay disparity, double              (or claim for relief) based on constructive discharge."
standards, enforcement of company policy, company            Pls.' Comb. Mem. Opp'n at 1 n. 2. Given Plaintiffs'
benefits--ask about company advancement motto).              concession, the Court grants CHR's motions.
See other charges of record." On page two of her
EEOC intake form, Carlson also checked that the line                         VI. CONCLUSION
corresponding to "refused promotion."                        Based on the files, records, and proceedings herein,

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and for the reasons stated above, IT IS ORDERED            Standards Act (Sep. 16, 2005)
THAT:
  1. CHR's motions for partial summary judgment            • 0:02cv03780 (Docket) (Oct. 02, 2002)
  [Docket Nos. 501, 505, 509, 513, 517, 521, 525,
  529, and 537] are GRANTED.                               END OF DOCUMENT
  2. CHR's motion for partial summary judgment
  [Docket No. 533] is DENIED.
  3. CHR's motion for partial summary judgment
  [Docket No. 541] is GRANTED as to Carlson's
  sexual harassment claim, and DENIED as to
  Carlson's compensation and promotion claims.
  4. CHR's motion for partial summary judgment
  [Docket No. 545] is GRANTED as to Smyrl's
  constructive discharge claim, and DENIED as to
  Smyrl's sexual harassment claim.
  5. Plaintiffs' motion for class certification [Docket
  No. 573] is GRANTED IN PART and DENIED IN
  PART.
  6. The Court certifies the following two classes for
  purposes of liability, injunctive and declaratory
  relief:
  A. All females employed on a full-time salaried
  basis at any domestic CHR branch office at any
  time since August 17, 2000, who have been or may
  be subjected to CHR's challenged compensation
  policies and practices.
  B. All females employed at any domestic CHR
  branch office at any time since August 17, 2000,
  who have more than two years' experience in a
  sales and/or operations position and who have been
  or may be subjected to CHR's challenged
  promotion policies and practices.
  7. Plaintiffs' motion to file excess pages [Docket
  No. 612] is GRANTED.
  8. Plaintiffs' motion for partial summary judgment
  [Docket No. 617] is DENIED AS MOOT.
  9. CHR's motion to exclude the testimony of
  Victoria Fuehrer [Docket No. 670] is GRANTED.
  10. The parties' supplemental briefs on the issue of
  notice shall be received no later than 14 days from
  the date of this Order. The briefs shall be no longer
  than 10 pages in length and shall be limited in
  scope to the issue of notice. There shall be no reply
  briefs.

 Not Reported in F.Supp.2d, 2005 WL 758602
(D.Minn.)


   Motions, Pleadings and Filings (Back to top)

• 2005 WL 3024542 (Trial Motion, Memorandum
and Affidavit) Memorandum of Defendant C.H.
Robinson Worldwide, INC. IN Support of its Motion
to Decertify Plaintiffs' Claims under the Fair Labor

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